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 7
                               UNITED STATES DISTRICT COURT
 8                       FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE

10    VALVE CORPORATION,                         No. 2:24-cv-1717

11                        Petitioner,            PETITION TO ENJOIN
                                                 ARBITRATIONS
12                  v.

13    JENNIFER A NELSON, THOMAS
      ABBRUZZESE, ZAID ABUWANDI, CODY
14    ACKLEY, NOE ADAME, STEPHEN
      ADAMS, RYAN ADREANI, ZACHARY
15    ALETHEIA, YOUSIF ALSAQLAWI, ERIC
      ALSPAUGH, JONAH ANDERS, BRENNAN
16    ANDERSON, DAVID ANTOLIC, JOSE
      ARANDA, JACOB ARCHER, RYAN
17    ARDITO, FABIAN AREVALO, MEAGAN
      ARGO, STEVEN ARMANT, DANIEL
18    ARMSTRONG, MATTHIAS ARMSTRONG,
      DAVID ARROYO, JACOB ARTHUR,
19    GARRETT ATHAY, ANGEL AYALA,
      EDWIN AYALA, CHRISTIEN AYSON,
20    CADE AZARCON, NOAH BABINCSAK
      STYZEN, MATTHEW BAER, GAVIN
21    BAKER, CARTER BAKER, ABED
      BALBAKY, MATTHEW BALDWIN, ROB
22    BALDWIN, HARRIS BANKS, CODY
      BARKER, JACOB BARNHILL, STEPHEN
23    BARR, ROGER BARRETT, BRIAN
      BASKOVICH, CHRIS BASSFORD, RILEY
24    BAXTER, MICHAEL BAZZELL,
      JONATHAN BEER, ANTHONY BENNETT,
25    ADAM BERNAL, SHOUNTASIA BEVINS,
      ALEC BIRENBAUM, TAI BISHOP,
26    CHRISTOPHER BITTLE, MICHAEL
      BLANCO, STEPHANIE BLOMSTROM,
27    LEO BLONDEL, KILEY BORBA, GAVIN

28   PETITION - 1                                                  CORR CRONIN LLP
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 1    BORCHERS, RYAN BOREK, JOSHUA
      BOSMAN, XANDER BRENDE-PRINS,
 2    MICHAEL BREWER, SCOTT BREWSTER,
      AARON BRIGGS, TIMOTHY
 3    BROUGHTON, VINCENT BROWN,
      ETHAN BROWN, KENSHAD BROWN,
 4    ALEXANDER BRUMLEY, ERIC BUCK,
      NED BUDD, NOAH BURCH, PAUL
 5    BURNETT, KEVIN BURNETT, ZACHARY
      BURRY, JASE BUSBY, NICOLAAS BUSH,
 6    JOHNATHON BUSH, ANDREW BUTLER,
      OWEN BUTTERWORTH, GRIFFIN BYER,
 7    THOMAS BYRD, MICHAEL CALLONI,
      RICH CAMBERN, BENJAMIN
 8    CAMENKER, CARISSA CAMPOS,
      HARRISON CARLOW, JONATHAN
 9    CARLTON, STEVEN CARMIENCKE,
      ADAM CARROLL, NICK CARTER,
10    JEFFREY CASSICK, AARON
      CASTANEDA, MAURICE CASTRO,
11    CLYDE CHAFFEE, RILEY CHAPMAN,
      ERIC CHASTAIN, IAN CHENEY,
12    BRANDAN CHRISTNER, PETER CILA,
      ROCCO CIPOLLA, JASON CLARK, KATIE
13    CLARK, JAMES CLARKE, JACK CLEARY,
      CORY CLERI, MITCHELL COBURN,
14    MYLES COFFMAN, BRENNAN
      COLEMAN, BENJAMIN CONRAD,
15    CHRISTOPHER CONRAD, MASON COON,
      ALEXANDER COREN, DUWAYNE
16    COUNTS, JASON COURTER, CHASE
      COUZENS, ETHAN COWAN-WRIGHT,
17    MARCUS CROWLEY, JULIO CRUZ,
      MATEUS CUNHA, SYDNEY CUTLER-
18    GILBERT, KEVIN DAHLKE, AJAY
      DALAL, MICHAEL DAUGHERTY,
19    ANDREW DAVIDSON, JORDAN DAVIS,
      JOHN DAVIS, JAMES DAVIS, DREVAYNE
20    DAWKINS, JACOB DEEGAN, MANFRED
      DENTICE, JOSHUA DEPALMA, RACIEL
21    DIAZ, JEREMIAH DIEUJUSTE,
      ELIZABETH DINGMAN, SEAN DOLLE,
22    LOGAN DOOSE, CURTIS
      DROMMERHAUSEN, SEAN DUAN,
23    DENVER DUBHORN, DANIEL DUCOS,
      WILLIAM DUDLEY, MICHAEL DUFOUR,
24    ABRAHAM DUMAN, DANIEL DUNCAN,
      GABRIEL DURBIN, SPENCER DUZANT,
25    MICHAEL EASTMAN, CORBIN
      ECHEVARRIA, TAYLOR EDWARDS,
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 1    EREDIA, HALEY ESKRIDGE, SCOTT
      ESKRIDGE, KEELAN ESQUIVEL, NICO
 2    ESTEBANEZ, COLLIN EVANS, MICHAEL
      EWING, RANDALL FARLEY, MASON
 3    FIELD, NATALIE FIELDS, ZACK
      FINFROCK, ROBERT FISCHER, TRABER
 4    FISCHER, GREG FISH, JAKE FLAHERTY,
      DYLAN FLECKENSTEIN, BRETT FLINN,
 5    JEREMY FLIPPO, JACOB FORD, JOHN
      FORREST, MATTHEW FOSSETT,
 6    NICHOLAS FOSTER, ALEXANDER
      FOWLER, MATTHEW FOWLER, TYLER
 7    FRANCESCONI, JON FRANCISCO, NEIL
      ANDREW FRANCISCO, TYLER
 8    FREEHILL, ADRIAN FRITZLEY, CHASE
      FROELICH, ANTHONY GALATOLO,
 9    JAMES GALLANT, PAOLO GALUPO,
      RAYMOND GARAY, JULIAN GARIBA,
10    THOMAS GARRETT, ALEJANDRO
      GARRIDO, BRANDON GARWELL, LIAM
11    GAUME-WAKEFIELD, ANTHONY
      GAZZO, NELS GEARY, JOSEPH GENTRY,
12    AUGUSTUS GERBO, JASON GIBBS,
      ROBERT GIBSON, TYLER GILBERT,
13    CHARLES GILL, VIRGIL GLISSON,
      BRYCE GOENS, DONALD GOLDSMITH,
14    TASHA GOLDSMITH, RALPH
      GONZALES, GUIDO GONZALEZ,
15    ALFREDO GONZALEZ, IAN GOVEA,
      CHRISTIAN GRABER, DAVID GRAHAM,
16    EVAN GRANT, JACOB GRAVES, ROBERT
      GRESCOWLE, WILLIAM GRIFFIN, RILEY
17    GRIFFITH, ELI GROFF, ALEXANDER
      GROW, DANIEL GUADARRAMA,
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19    HABURSKY, COLE HAGAN, SACHA
      HAGHIGHI, BRADYN HAMEL, JARED
20    HARDISON, DANIEL HARLEY, DEVIN
      HARVEY, MIKEL HATCHER, ROB
21    HAUSER, JACKSON HEATH, BRODERICK
      HEBERT, DAVID HEDRICK, ANN
22    HEFNER, ADAM HENCHEN, MARK
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23    HERALD, RENNY HERBERT, MARTIN
      HERNANDEZ, ALECK HERNANDEZ,
24    ANDRES HERNANDEZ, MIKE HESPEL,
      TRAVIS HICKEY, BRAXTEN HIEB,
25    KASANDRA HILEY, JONATHAN
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 1    HORAZECK, RICKY HORNE, SHAUN
      HOWE, NICHOLAS HOWELL, JAYSON
 2    HUBER, GORDON HUCKABY, MICHAEL
      HUEGE, JARED HUGGETT, CHANDLIN
 3    HUSAIN HUSAIN, MATTHEW HUSAR,
      CHRIS HUSS, ALEX HYER, JENNIFER
 4    JACKS, KYLE JACKSON, WILLIAM
      JACKSON, BAYLEN JAMES, CHRIS JAUS,
 5    STEVEN JENNETT, ITIEL JIMENEZ,
      MAXWELL JOHNSON, MAX JOHNSON,
 6    JARED JOHNSON, TIMOTHY JOHNSON,
      JUSTIN JONES, MATTHEW JONES, DANE
 7    JORDAN, JURELL JORDAN, BENJAMIN
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 8    KACHMAN, GREGORY KAIN, TIMOTHY
      KAISERLIK, ALISA KALEGINA,
 9    VINCENT KEEGAN, GRANT KEGLEY,
      NICHOLAS KEITH, TYLER KEMP, ODIS
10    KENDRICK, PAUL KIERNAN, BRANDON
      KIMPEL, JEREMY KIRKWOOD,
11    NICHOLAS KIRSE, JOHN KNIRR, ERIK
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12    JOSHUA KRANZ, DEREK KRAUSE,
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13    MICHAEL KUTNER, DANIEL LAHNER,
      DERIC LANDERS, AJ LANE, JOHN
14    LAPAGLIA, TREVOR LATURNER, NICK
      LAUDER, CORINNE LEE, ETHAN
15    LEFEBVRE, JUSTIN LEFFERT, MARK
      LEGG, CAMERON LESTER, TIMOTHY
16    LEUCHT, JOSHUA LEWIS, TALON
      LEWIS, JONATHAN LEWIS, SETH LEWIS,
17    SCOTT LEWIS, ROBERT LEWIS,
      MICHAEL LINARES, SAM LOMAX,
18    JACOB LOOMIS, ALEXANDER LOPEZ,
      ALAN LOPEZ, JONATHAN LOPEZ,
19    KOLBY LOUKS, JEREMY LUCAS,
      RICHARD LUNDSGAARD, AMY LUTES,
20    KYLE LYNCH, CLAYTON LYNN,
      ANDREW M EVENSON, WILLIAM MAC
21    DOUGALL, JORDAN MACK, THOMAS
      MAGERA, AUSTIN MALTBIA,
22    PANAYIOTIS MANISCALCO, WILLIAM
      MARCELLUS, JOHN MARCOTTE, ROGER
23    MARICLE, ALICIA MARSHALL, ROSS
      MARTIKKE, ARMANDO MARTINEZ,
24    JOSEPH MARTINOLICH, NICHOLAS
      MASTRIACO, PAUL MAYER, KYLE
25    MAYFIELD, TRAVIS MAYNARD,
      HUNTER MCBRAYER, BRIDGETTE
26    MCBRIDE, JASON MCCALL, NATASHA
      MCCARTHY, EZEKIEL MCCRACKEN,
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 1    JAMES MCDONALD, BRODEN
      MCDUFFEE, GRAYSEN MCGILLIGAN,
 2    JAMES MCINERNY, AUSTIN MCMILLAN,
      THOMAS MCSWEENEY, MARK
 3    MENDEL, MARTIN MENDEZ, DREW
      MERRIMAN, TRAVIS MICHELETTI,
 4    ALICE MILLAGE, RAY MILLER, CARY
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 5    ANDREW MITCHELL, SEAN MITCHELL,
      ANTHONY MITTASCH, MAX MOAKLEY,
 6    JODEE LYNN MOLINA, ELIJAH
      MONROE, ADRIAN MONTER, KEVIN
 7    MONTES, MALAKYE MOODY, RYAN
      MOORE, NATHANIEL MOORE, JARED
 8    MORENO, BARRY MORGANTI, DANIEL
      MORRIS, CONOR MOSCHELLA, YURI
 9    MOTRUK, GAVIN MOYE, MICHAEL
      MRGICH, MAXWELL MUCHA, RICKY
10    MULLINS, TREY MUNDELL, BONNIE
      MURPHY, DEVON MUSTO, SETH
11    MYERS, JARED MYERS, JACOB NAQUIN,
      COLE NELSON, JORDAN NEWBY,
12    JAVIER NIETO, CHARLES NILES, LUKE
      NINEMIRE, RICHARD NOBLE, GARLAND
13    NOEL, JOSHUA OBRIEN, CALEB
      ORELLA, JONATHAN ORTIZ, KENNY
14    ORTIZ, ANDREW OSBORNE, JOHN
      OTEY, MICHAEL OWENS, ALEXANDER
15    PACHNICKI, MICHAEL PACHOLCZAK,
      JOSHUA PAGE, MITCHELL PAKOSZ,
16    GARY PALMATIER, HARLEY PALMER,
      MITCHELL PAPENDORF, WESLEY
17    PARMER, ZACHARY PARSLEY, ERIC
      PARTLOW, HARSH PATEL, ALEX
18    PATRAO, MICHAEL PATTERSON, ERIC
      PATTON, BRADY PAUL, COLLIN
19    PEACOCK, AARON PEARSON, SHAWN
      PECK, JOSHUA PEDRICK, ELIEL PEDRO,
20    JEFF PELLEGRIN, MIKE PENA, TIMOTHY
      PABLO PENARANDA, JESSE PERLAZA,
21    NOAH PERRY, JARED PERRY,
      JONATHAN PERRY, BLAKE PETERSEN,
22    AARON PETERSON, DEVEN PETERSON,
      MARCUS PETTWAY, DUSTIN PHELPS,
23    ALYSSA PHILLIPS, JACOB PHILLIPS,
      HUGH PHILLIPS, EVAN PIEPHO,
24    CORTLAND PINNICK, NATHAN PIPPIN,
      NIKO PITINII, CARSON PLAISANCE,
25    MATEO PLATERO, SKYLAR POND,
      PHARAUN POTTS, MATTHEW POWELL,
26    CHRISTOPHER PRATO-SHEIN, STEVEN
      PRESCOTT, JAMES PRUITT, JACOB
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 1    PULLEN, JOHN QUARNSTROM,
      ABRAHIM RAMADAN, JEFF RAMIREZ
 2    OCHOA, KEVIN RAMOS, ISAAC RAMOS,
      QUINN RASMUSSEN, BRADLEY
 3    RATLIFF, JOSEPH RAY, CRISTIAN
      RAYNES, VINCENT REBOKUS, DAVID
 4    REED, JOHN REEVES, JAMES
      REYNOLDS, ROBERT RICHARDS,
 5    TRACY RICHARDSON, ROBERT
      RICHELSON, DAVID RICHEY, JOE RIOS,
 6    JOSEPH RISI, JULIUS ROBERTS, SAMUEL
      ROBERTS, JOSHUA ROBERTS, STEPHEN
 7    ROBERTSON, CHRIS ROBINSON, ETHAN
      RODABAUGH, GABRIEL RODRIGUES,
 8    ALEXANDER RODRIGUEZ, JOSHUA
      RODRIGUEZ, THOMAS ROLANDO,
 9    ALLEN ROMAN, RUDOLPH ROMANO,
      VICTOR ROMO, NOE ROSALES,
10    ANDREW ROSSON, ANTHONY RUBINO,
      NICHOLAS RUGAMA, ROBERT RULE,
11    TREVOR RUPEL, MORGAN RUSHING,
      TYLER SALYER, JOSHUA SAMMONS,
12    ETHAN SAMS, LEONARD SANDERS,
      JOEL SANDKAMP, ANDRE SANTANA,
13    GABRIEL SANTANA, JEMELLEE
      SANTOS, SALVATORE SARDISCO,
14    SIMON SAVLAS, JOSHUA SAYLES,
      MARK SCHAEFER, AUSTIN SCHAU,
15    ROBERT SCHINDLER, ALEXANDER
      SCHLOSSER, RYAN SCHULTZ, JOHN
16    SCHWEIZER II, ETHAN SCIFERS, ISAAC
      SELLERS, RAMON SERRANO, ZACKERY
17    SESSIONS, RYAN SHELINE, JOSEPH
      SHELLEY, BENJAMIN SHEMENSKI,
18    BRIAN SHERWOOD, MICHAEL
      SHINGLETON, JAKE SIGAL, ANTHONY
19    SIMONI, ZACHARY SMITH, DANIEL
      SMITH, GREG SMITH, JASON SMITH,
20    RYAN SMITH, IAN SMITH, DYLAN
      SMYERS, AARON SOLOMON, NORM
21    SOMERS, LUIS SOTILLET ROJAS,
      DECKER SPENCER, DONALD SPINELLI,
22    PATRICK SQUIRE, DARIAN STARK,
      HOLDEN STENDER, MATTHEW
23    STENGEL, CHRISTOPHER STEPHAN,
      DILLON STETTLER, SAMUEL STEVENS,
24    CODY STEWART, ROBERT STILLMAN,
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25    TYLER STRENGE, IAN STUBBS, STEVEN
      STUCKER, TYLER STULZ, NICKY SUN,
26    KALEB SWAIM, MATTHEW SWEENEY,
      JOHN TADDEI, ISAIAH TAYLOR, KEVIN
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28   PETITION - 6                                                CORR CRONIN LLP
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 1    TAYLOR, ZACHARY TAYLOR, JERRY
      TERRY, CALEB THERIOT, ALEXANDER
 2    THOMAS, LUCIAN THOMPSON,
      XZAVIER TIMMONS, MERRICK TIPTON,
 3    PATRICK TITTERNESS, CHRISTOPHER
      TOFT, LEIF TOLLEFSON, AMBER
 4    TONEY, IAN TREFREN, KAI TROBAUGH,
      JEFFREY TRODDEN, DEVON TRUJILLO,
 5    MAISIE TURNER, RYAN TUTOR,
      LAUREN TYNER, NICHOLAS TYNES,
 6    KATIE UCCELLO, MARC URA, JACK
      UTEG, VEDA VALLES, AARON VAUGHN,
 7    CHRISTOPHER VEIGA, MATTHEW
      VENTURES, LANCE VICENTE, BERNARD
 8    VIGNALI, KEVIN VILORIA, KENNETH
      WALKER, JACOB WALKER, LLOYD
 9    WALKER, JAMES WALTERS,
      DOMINIQUE WARD, JONAH WARNER,
10    CODY WARREN, JOSEPH
      WASIELEWSKI-WALSH, TRISTEN
11    WATSON, JOSHUA WEBB, SETH WEBER,
      MARK WENDT, DANIEL WEST, JAMES
12    WEYMOUTH, SAMUEL WHIDDON,
      JONAH WHITE, JOSHUA WHITEACRE,
13    JOSIAH WILKERSON, LUTHER
      WILLIAMS, MARK WILLIAMS JR, BRAD
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      WISEMAN, KYLE WOMACK, ROBERT
15    WOOLF, RANDY WOZNIAK, AMIR
      WRIGHT, J DEREK WRIGHT, TYLER
16    WRIGHT, MASON WRIGHT, MICHAEL
      WU, JAKE WUEBKER, JOSHUA WYANT,
17    ZACHARY YAHOLA, XENIA YEE, BRIAN
      YEH, JOHNATHAN YI, ELY YOUNG,
18    JACOB ZIDE, ADAM ZUNIGA and JOHN
      ZWICK,
19
                        Respondents.
20

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28   PETITION - 7                                                CORR CRONIN LLP
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 1                                              INTRODUCTION
 2          1.     Valve brings this petition to enjoin Respondents from continuing to pursue arbitrations
 3 before the American Arbitration Association (“AAA”) because there is no agreement to arbitrate between

 4 the parties. Valve’s request for relief does not leave Respondents without a way to pursue their claims. It

 5 merely asks the Court to answer a simple legal question: Whether Respondents may arbitrate their

 6 claims—even though there is no arbitration agreement between the parties—or must resolve their claims

 7 in court.

 8          2.     Valve is forced to bring this petition by the actions of Bucher Law PLLC (“Bucher Law”).
 9 Bucher Law is a small law firm founded by William Ward Bucher IV after he was fired by another law

10 firm, which is now suing him for (among other things) alleged misappropriation, aiding and abetting fraud,

11 and interference with client relationships. Looking to build its business—and generate substantial attorney

12 fees—Bucher Law engaged in a widespread marketing campaign to convince Steam users to bring

13 antitrust claims against Valve related to its Steam gaming platform. The strategy was to “weaponize[]” an

14 arbitration provision in the user agreement between Valve and Steam users to leverage a settlement from

15 Valve so it could avoid the enormous costs it would face in arbitrating thousands of user claims.

16 Mr. Bucher believed that “[a]ggregating claims makes [Valve’s] entrance fee to just defend [arbitrations]

17 prohibitively expensive.”

18          3.     Steam users were merely pawns in this scheme; Mr. Bucher’s presentation to a prospective
19 investor promised huge returns for a litigation funder willing to front the costs of convincing users to bring

20 claims against Valve, reducing each Steam user to an “acquisition” cost. 1 The presentation estimated

21 “spend of $3.75 million to recruit 75,000 clients at $50 an acquisition” and enticed a potential funder with

22 an estimated “1874% ROI on $6.5 million investment.” The plan was simple: Convince tens of thousands

23 of Steam users they needed to bring claims against Valve, then use their numbers to extort a windfall

24

25
            1
            Mr. Bucher’s complete presentation is publicly available as an exhibit in a lawsuit Mr. Bucher’s
26 former law firm brought against him. See https://fingfx.thomsonreuters.com/gfx/legaldocs/xmvjlawjrvr/
   frankel-valvevzaiger--massarbpowerpoint.pdf.
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28   PETITION - 8                                                                  CORR CRONIN LLP
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 1 settlement by threatening Valve with thousands of arbitrations that would cause Valve to incur substantial

 2 arbitration fees.

 3          4.      Some Steam users noted on public posts that Mr. Bucher was engaged in a “scam.” Others
 4 appear to have been misled about what they had signed up for, believing it was a class action or class

 5 action settlement that didn’t exist. And some Steam users who were induced to sign up after being

 6 bombarded with harassing video ads later tried to rescind their participation.

 7          5.      Because of Mr. Bucher’s tactics, Valve brought suit against Bucher Law in Washington
 8 state court asserting claims for tortious interference and abuse of process. Complaint, Valve Corp. v.

 9 Bucher Law PLLC, No. 23-2-20447-6 (Wash. Super. Ct. Oct. 2, 2023) (explaining Bucher Law’s abusive

10 conduct in detail) (Ex. 2). 2 Bucher Law claimed that his actions were “absolutely immunize[d]” by “the

11 litigation privilege” and asked the court to dismiss Valve’s case. The court denied Bucher Law’s request,

12 finding that (i) “Valve has alleged sufficient facts to establish a plausible claim of tortious interference”

13 and (ii) “Valve has also alleged sufficient facts to plausibly allege a claim of abuse of process, particularly

14 given the unique circumstances of the case.” (Ex. 3 at 2.)

15          6.      Meanwhile, after tens of thousands of Steam users apparently (and perhaps unwittingly)
16 retained Bucher Law to bring claims against Valve, Bucher Law launched several thousand arbitrations

17 against Valve, invoking the arbitration agreement in the Steam Subscriber Agreement (“SSA”) between

18 Valve and Steam users that was in effect at the time. An arbitrator in four of those arbitrations ruled that

19 the SSA’s arbitration agreement was not enforceable. Based on those rulings, Bucher Law filed a putative

20 nationwide class action against Valve in this Court based on the premise that Valve’s arbitration agreement

21 was unenforceable as to the entire class of all Steam users in the United States, including Respondents

22 here. See Complaint, Elliott v. Valve Corporation, No. 2:24-cv-01218 (W.D. Wash. filed Aug. 9, 2024).

23

24
            2
25           All references to “Ex.” followed by a numbered exhibit refer to exhibits filed in connection with
   the Declaration of Andrew J. Fuchs submitted herewith (“Fuchs Decl.”). All references to “Ex.” followed
26 by a lettered exhibit refer to exhibits filed in connection with the Declaration of Scott Lynch submitted
   herewith (“Lynch Decl.”).
27

28    PETITION - 9                                                                 CORR CRONIN LLP
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 1          7.      In light of all of the circumstances, Valve removed the arbitration agreement and class
 2 action waiver from the SSA. 3 Now, the current SSA (the “Current SSA”) provides that all claims and

 3 disputes between Valve and Steam users must proceed in court, including claims and disputes that arose

 4 before Valve implemented the Current SSA.

 5          8.      Numerous Steam users quickly accepted the Current SSA—including the large majority of
 6 Respondents—and those that have not yet accepted will do so by November 1, 2024, through their

 7 continued use of Steam.

 8          9.      Despite basing a nationwide class action on the argument that the arbitration agreement in
 9 Valve’s prior SSA was not enforceable, Bucher Law continued to push forward with Respondents’

10 previously-filed arbitrations, including for those Respondents who agreed with Valve in the Current

11 SSA that their claims would be pursued only in court. Bucher Law argued in those arbitrations that the

12 old arbitration agreement from the Superseded SSA remains enforceable for the claimants in those

13 arbitrations and asked arbitrators to rule those claimants may proceed in arbitration on that basis.

14          10.     As the Supreme Court held in a unanimous decision earlier this year, the question of which
15 of two agreements governing dispute resolution applies is a question that only a court may decide. See

16 Coinbase, Inc. v. Suski, 609 U.S. 143, 152 (2024). As the Court observed, “[a]rbitration is a matter of

17 contract and consent, and we have long held that disputes are subject to arbitration if, and only if, the

18 parties actually agreed to arbitrate those disputes.” Id. at 145.

19          11.     Respondents’ same claims are being litigated by Bucher Law in two different forums: (i) in
20 arbitrations, despite the absence of an arbitration agreement, and (ii) in a class action pending before this

21 Court that includes Respondents as putative class members. As there is no longer an arbitration agreement,

22 Respondents should be enjoined from pursuing their arbitrations. Respondents will remain free to

23 prosecute their claims in court, in Bucher Law’s new Elliott class action, in another parallel and virtually

24

25

26          3
               The prior version of the SSA that included an arbitration agreement and class action waiver is
     referred to herein as the “Superseded SSA.”
27

28    PETITION - 10                                                               CORR CRONIN LLP
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 1 identical class action pending in this Court, In re Valve Antitrust Litigation, No. 2:21-cv-00563- JNW

 2 (“Wolfire”), or otherwise.

 3                                       NATURE OF THE ACTION
 4          12.    William Ward Bucher IV is the founder and sole partner of Bucher Law. In July 2022,
 5 before Mr. Bucher founded Bucher Law, the law firm Zaiger LLC (“Zaiger”) hired Mr. Bucher to “to lead

 6 [the] development and pursuit of mass arbitration strategies” at Zaiger. While at Zaiger, Mr. Bucher made

 7 a presentation to a litigation funder setting out his plan to exploit the arbitration agreement in the

 8 Superseded SSA to bring mass arbitrations against Valve. (Ex. 1.) This was purely a business proposition

 9 with no discussion of the merits of any claims against Valve. Instead, the presentation promised huge

10 returns for a litigation funder willing to front the costs of convincing users to sue Valve, reducing each

11 Steam user to a mere “acquisition” cost. (Id. at 5.) The presentation estimated “spend of $3.75 million to

12 recruit 75,000 clients at $50 an acquisition” and enticed a potential funder with an estimated “1874% ROI

13 on $6.5 million investment” in funding the proposed mass arbitrations. (Id. at 5, 9.) The plan was simple:

14 Convince tens of thousands of Steam users they needed to sue Valve, then use their numbers to extort a

15 windfall settlement by threatening Valve with thousands of arbitrations that would cause Valve to incur

16 substantial arbitration fees.

17          13.    Zaiger subsequently terminated Mr. Bucher, allegedly on account of a disagreement over
18 arbitration strategy. Zaiger then sued Mr. Bucher alleging, among other things, that Mr. Bucher stole client

19 files in connection with threatened arbitrations against Valve. See Complaint, Zaiger LLC v. Bucher Law

20 PLLC, No. 154124-2023 (Sup. Ct. N.Y. Cnty. May 9, 2023) (Ex. 7).4 The lawsuit alleges that Mr. Bucher

21 “snuck into [Zaiger’s] client database,” and “tried to access and download names, addresses, email

22 addresses, and mobile phone numbers of about 48,000 Firm clients whose information was stored on the

23 Firm Database.” Id. ¶ 3. Mr. Bucher allegedly used the information he stole to “barrage those [Zaiger

24

25

26          4
               The complaint is available at: https://fingfx.thomsonreuters.com/gfx/legaldocs/
     znvnzwglqvl/frankel-valvevzaiger--zaigercomplaintvbucher.pdf.
27

28    PETITION - 11                                                              CORR CRONIN LLP
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 1 clients] with false and deceptive emails and text messages,” falsely implying that the clients must sign up

 2 with Mr. Bucher’s firm to continue pursuing their mass arbitration claims against Valve. Id. ¶ 5.

 3          14.    After his termination from Zaiger, Mr. Bucher formed Bucher Law.
 4          15.    In 2023, Bucher Law commenced its mass arbitration strategy against Valve, which was
 5 designed—in Mr. Bucher’s own words—to “weaponize[]” an arbitration agreement between Valve and

 6 Respondents. (Ex. 1 at 3.) At that time, Valve’s SSA included an arbitration agreement that required

 7 claims and disputes to be brought in arbitration before the AAA.

 8          16.    In a marketing video used as part of his online marketing blitz to recruit claimants,
 9 Mr. Bucher stated that arbitration was preferable to a class action. Mr. Bucher tried to convince Steam

10 users to join his arbitration plan by stating that it was “good news” that Valve had an arbitration agreement

11 because “on average consumers in arbitration recover hundreds of times more than in a class action.” After

12 threatening arbitrations asserting antitrust claims on behalf of thousands of claimants, Bucher Law made

13 an outrageous settlement demand to Valve that far exceeded any conceivable recovery; indeed, the

14 threatened claims are meritless. 5

15          17.    Valve did not acquiesce to Bucher Law’s demand. Bucher Law then filed thousands of
16 arbitrations with the AAA. At present, there are 601 arbitrations proceeding before the AAA that are

17 assigned to merits arbitrators (including two claimants who are deceased) and 25 claimants who were

18 assigned to a merits arbitrator who was disqualified. All of the claimants in those actions (with the

19 exception of two claimants who are deceased) are Respondents here. Bucher Law also filed thousands of

20 other arbitrations with the AAA that have not been assigned to merits arbitrators. The claimants in these

21 arbitrations include at least seven individuals who are deceased; at least 96 individuals who are represented

22 by other law firms pursuing the same claims; and at least 19 individuals who are in active bankruptcy

23 proceedings. (And, of course, all of the claimants are putative class members in Elliott.)

24
            5
            Bucher Law asserts claims under Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2.
25 Bucher Law alleges that Valve has monopolized the so-called “PC Game Transaction Platforms Market”
   by imposing a “Platform Most-Favored Nations” policy (“PMFN”) in which Valve has allegedly
26 prohibited game developers from selling games on rival storefronts at lower prices than on Steam. These
   claims are false, as Valve is demonstrating in related litigation in this Court in Wolfire and Elliott.
27

28   PETITION - 12                                                                CORR CRONIN LLP
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 1         18.      Most of the arbitrations pending before arbitrators are at preliminary stages. The parties
 2 have not completed their information exchange in any arbitration. No evidentiary hearings or any final

 3 merits hearings have been held in any arbitration.

 4         19.      In May 2024, Bucher Law filed motions in four arbitrations pending before the same
 5 arbitrator seeking a ruling that the arbitration agreement in Valve’s now superseded SSA was

 6 unenforceable. Bucher Law did not file this motion in the 21 other arbitrations against Valve pending

 7 before that same arbitrator. Nor did Bucher Law file this motion before any of the other 34 arbitrators

 8 presiding over Bucher Law’s arbitrations.

 9         20.      On July 8, 2024, the arbitrator in those four proceedings granted Bucher Law’s motions,
10 holding that the arbitration agreement in the Superseded SSA was unenforceable and dismissing those

11 arbitrations.

12         21.      On August 9, 2024, Bucher Law and its co-counsel Hagens Berman Sobol Shapiro LLP
13 (“Hagens”) filed a putative class action against Valve in this Court captioned Elliott v. Valve Corporation,

14 No. 2:24-cv-01218 (W.D. Wash.). The plaintiffs in that action are the four individuals on whose behalf

15 Bucher Law obtained arbitral rulings that the arbitration agreement in the Superseded SSA was

16 unenforceable.

17         22.      Bucher Law’s and Hagens’s complaint in Elliott asserts all of the claims and seeks all of
18 the relief Bucher Law seeks on behalf of Respondents and other claimants in arbitrations pending before

19 the AAA. Bucher Law and Hagens seek to represent a putative nationwide class that includes Respondents

20 and all other claimants on whose behalf Bucher Law is prosecuting arbitrations before the AAA.

21         23.      The arbitration agreement in the SSA at the time Bucher and Hagens filed Elliott provided
22 that the claims be arbitrated before the AAA. But Bucher Law and Hagens asserted that their claims

23 belonged in court because Bucher Law had “won binding decisions from arbitrators rendering Valve’s

24 arbitration provision unenforceable.” Complaint ¶ 13, Elliott (Dkt. 1).

25         24.      Although Mr. Bucher told potential claimants in his marketing video that arbitration was
26 superior to a class action, Bucher Law and Hagens represent in Elliott that the opposite is true. The

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28   PETITION - 13                                                               CORR CRONIN LLP
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 1 complaint alleges that the putative class action is “superior to any other method for the fair and efficient

 2 adjudication of this legal dispute.” Complaint ¶ 177, Elliott (Dkt. 1).

 3         25.     Valve did not challenge the rulings of the arbitrator that the arbitration agreement in its
 4 Superseded SSA is unenforceable, nor will it do so. Instead, on September 26, 2024, Valve implemented

 5 the Current SSA to remove the arbitration agreement and class action waiver.

 6         26.     The Current SSA requires that all claims, including claims that arose before the new
 7 agreement, must proceed in court:

 8                 You and Valve agree that disputes and claims between you and Valve
                   (including any dispute or claim that arose before the existence of this or any
 9                 prior agreement) shall be commenced and maintained exclusively in any
                   state or federal court located in King County, Washington, having subject
10                 matter jurisdiction.
11         27.     The Current SSA also provides that it “constitutes and contains the entire agreement
12 between the parties with respect to the subject matter hereof and supersedes any prior oral or written

13 agreements.”

14         28.     Under well-settled law, these provisions in the Current SSA cover all of the arbitrations
15 Bucher Law is prosecuting on behalf of Respondents and other claimants in arbitration and requires their

16 claims to proceed in court.

17         29.     All Respondents were sent notice of the Current SSA by email, and, if they opened the
18 Steam client, a pop-up notification. The Current SSA has also been continuously posted online in a public

19 website since September 26, 2024, in numerous languages, with a prominent header calling out the new

20 agreement and advising users that “the new dispute resolution provisions in Section 10 require that all

21 disputes and claims proceed in court and not in arbitration.” (See https://store.steampowered.com/

22 subscriber_agreement/).) Users have also been asked to accept the new SSA every time they buy a game

23 on Steam or fund their Steam Wallet since September 26, 2024.

24         30.     At least 461 of the 624 Respondents have already affirmatively accepted the Current SSA
25 by (i) checking a box next to the text “I agree to the Updated Steam Subscriber Agreement” then clicking a

26 button labeled “Accept Updated SSA” under a notification regarding the updates, (ii) checking a box stating

27

28   PETITION - 14                                                                 CORR CRONIN LLP
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 1 their agreement to the new SSA when making a purchase on Steam or funding their Steam Wallets, or (iii) in

 2 both of those ways. The remaining Respondents will accept the Current SSA by November 1, 2024, if they

 3 do not delete or discontinue use of their account before then. 6

 4         31.       Bucher Law and Hagens asserted in Elliott that the Current SSA and its forum selection
 5 provision applies to all Steam users, including these Respondents. On October 2, 2024, Bucher Law and

 6 Hagens moved to be appointed interim co-lead class counsel in Elliott. In that motion, Bucher Law and

 7 Hagens (together, “Proposed Class Counsel”) represented that they had “prompted Valve to remove the

 8 arbitration provision from its terms of use, along with the associated class action wavier. As a result,

 9 Valve consumers are authorized to proceed in federal court and seek collective relief through the

10 class action vehicle.” Plaintiffs’ Motion to Appoint Hagens Berman Sobol Shapiro LLP and Bucher Law

11 PLLC as Interim Co-Lead Class Counsel, Elliott (Dkt. 25). “Valve consumers” include Respondents and

12 the thousands of other claimants in the arbitrations that Bucher Law is prosecuting before the AAA.

13         32.       Notwithstanding Proposed Class Counsel’s statement to this Court that the Current SSA
14 applies to all Respondents, Bucher Law is taking the opposite position in Respondents’ arbitrations before

15 the AAA and in an action filed in California state court.

16         33.       First, Bucher Law continues to prosecute hundreds of arbitrations before the AAA on
17 behalf of Respondents. Valve asked the AAA to administratively close the arbitrations for lack of

18 jurisdiction. Bucher Law opposed Valve’s request, arguing that Valve’s implementation of the Current

19 SSA was a “unilateral and legally infirm terms of use modification.” The AAA declined to close the

20 arbitrations, leaving to a court or 34 merits arbitrators the question whether the arbitrations may proceed.

21 But which agreement applies to Respondents’ claims—the Superseded SSA with an arbitration agreement

22 or the Current SSA that provides for resolution of disputes in court (and to which most Respondents have

23 affirmatively agreed)—is a question that, under Coinbase, only a court may resolve.

24         34.       Second, Bucher Law filed a petition in California state court seeking to reinstate a
25 disqualified arbitrator who was previously assigned to 25 of the Respondents’ arbitrations, so that Bucher

26
           6
               Valve will only delete a user’s account if and when that user requests deletion.
27

28   PETITION - 15                                                                 CORR CRONIN LLP
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 1 Law can go forward in those arbitrations with its preferred arbitrator. See Beer v. Valve Corporation,

 2 No. 24STCP03209 (Cal. Sup. Ct., L.A. Cnty. filed Oct. 4, 2024). Bucher Law’s petition is based on the

 3 premise that the arbitration agreement in Valve’s Superseded SSA is enforceable and applies to those

 4 Respondents’ claims—exactly opposite Bucher Law’s position in the Elliott class action, which is based

 5 on the premise the arbitration agreement in Valve’s Superseded SSA is not enforceable.

 6         35.     Bucher Law has conceded to arbitrators that the firm is forum shopping by prosecuting
 7 separate actions—the arbitrations and the putative class action—on behalf of the same Respondents in

 8 two different forums (AAA, federal court). 7 Bucher Law also stated to arbitrators that Respondents may

 9 withdraw their arbitrations and proceed in court if Bucher Law is dissatisfied with any arbitral ruling at

10 any point up until a final award. Bucher Law represented that some Respondents already indicated their

11 intention to do so. And Bucher Law represented to arbitrators that Bucher Law intends to use information

12 obtained in the arbitrations in furtherance of Proposed Class Counsel’s putative class action.

13          36.    The arbitrations Bucher Law is prosecuting on behalf of Respondents impose enormous
14 burdens on the parties. This time and expense incurred is entirely wasted: any final arbitral award issued

15 in any of those arbitrations would inevitably be vacated because there is no arbitration agreement between

16 the parties.

17          37.    These inefficient, duplicative, and wasteful arbitral proceedings flow from Bucher Law’s
18 inherent conflicts of interest from representing a putative class in one forum while at the same time

19 representing a smaller group of putative class members in another. Bucher Law represents (i) the putative

20 class in Elliott, which includes all Respondents and other claimants and (ii) Respondents and other

21 claimants in arbitrations. Courts have consistently held that such split loyalties create an inherent and

22 disabling conflict of interest because the interests of a putative class may diverge from the interests of

23 individual claimants.

24

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26         7
              Bucher Law has also forum shopped in arbitrations. Bucher Law submitted no fewer than 315
     challenges seeking to disqualify a total of 22 arbitrators.
27

28    PETITION - 16                                                             CORR CRONIN LLP
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 1          38.    This conflict already materialized through Bucher Law’s actions: Bucher Law is taking
 2 contrary positions (i) in Elliott, where Bucher Law argues that the Superseded SSA’s arbitration

 3 agreement was unenforceable and the Current SSA governs all Respondents’ claims, and (ii) in

 4 Respondents’ and other claimants’ arbitrations and in a California state court proceeding, where Bucher

 5 Law takes the position that the Current SSA is invalid and the Superseded SSA is enforceable and governs.

 6          39.    It is not apparent that Respondents are aware that (i) Bucher Law sought and obtained
 7 orders ruling that the arbitration agreement in the SSA was unenforceable; (ii) Bucher Law and Hagens

 8 filed a putative class action on behalf of Respondents as putative class members; (iii) Bucher Law is forum

 9 shopping or using Respondents’ arbitrations as leverage in furtherance of Proposed Class Counsel’s

10 putative class action; or (iv) this dispute has arisen as to which agreement applies to their claims as

11 between the Superseded SSA and the Current SSA. The circumstances suggest that many Respondents

12 are not aware of any of these facts.

13          40.    In addition, Bucher Law appears to be disregarding its own clients’ wishes: Even though
14 the majority of Respondents already affirmatively agreed to the Current SSA and its requirement that all

15 claims be litigated in court, Bucher Law continues to press their claims in arbitration despite the existence

16 of the Elliott and Wolfire class actions in which his clients can pursue their claims.

17          41.    In short, Respondents (or their counsel) are attempting to proceed with arbitrations under
18 an old arbitration agreement that was found unenforceable and that has since been removed from the

19 Current SSA. Most Respondents already affirmatively agreed to the Current SSA and any remaining

20 Respondents will shortly agree to that new agreement unless they delete or discontinue use of their

21 accounts. The AAA therefore lacks jurisdiction to adjudicate Respondents’ disputes. Accordingly, Valve

22 respectfully requests an order enjoining the arbitrations Respondents are prosecuting before the AAA.

23                                               THE PARTIES
24          42.    Plaintiff Valve is a corporation organized under the laws of Washington state with its
25 principal place of business in King County, Washington.

26

27

28   PETITION - 17                                                                CORR CRONIN LLP
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 1          43.    Respondents are 624 individuals represented by Bucher Law in arbitrations pending before
 2 arbitrators with the AAA (or that were assigned to an arbitrator who has since been disqualified). 8

 3                                       JURISDICTION AND VENUE
 4          44.    This Court has jurisdiction over this petition under 9 U.S.C. § 4 and 28 U.S.C. §§ 1331 and
 5 1367 because the underlying controversy involves claims arising under the laws of the United States—the

 6 Sherman Act, 15 U.S.C. §§ 1 and 2.

 7          45.    Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)(2) because at least six
 8 Respondents presently reside in King County, 9 and because Section 10 of the agreement between the

 9 parties, the Current SSA, provides:

10                 You and Valve agree that all disputes and claims between you and Valve
                   (including any dispute or claim that arose before the existence of this or any
11                 prior agreement) shall be commenced and maintained exclusively in any
                   state or federal court located in King County, Washington, having subject
12                 matter jurisdiction. You and Valve hereby consent to the exclusive
                   jurisdiction of such courts and waive any objections as to personal
13                 jurisdiction or venue in such courts. 10 (Ex. B §10.)
14          46.    This court has personal jurisdiction over all Respondents because Section 10 of the
15 agreement between the parties, the Current SSA, provides:

16                 You and Valve agree that all disputes and claims between you and Valve
                   (including any dispute or claim that arose before the existence of this or any
17                 prior agreement) shall be commenced and maintained exclusively in any
                   state or federal court located in King County, Washington, having subject
18                 matter jurisdiction. You and Valve hereby consent to the exclusive
                   jurisdiction of such courts and waive any objections as to personal
19                 jurisdiction or venue in such courts. Id.
20

21

22

23          8
             The claims of 25 Respondents were assigned to Arbitrator Martin D. Katz, who was disqualified
     by the AAA.
24
        9
          These Respondents include Christien Ayson, Scott Eskridge, Renny Herbert, John Otey, James
25 McDonald, and Nicholas Stone.

26          10
               The Superseded SSA likewise required that disputes brought in court must proceed in any state
     or federal court located in King County, Washington, having subject matter jurisdiction.
27

28    PETITION - 18                                                               CORR CRONIN LLP
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 1                                          SUMMARY OF FACTS
 2 A.      Valve, Steam, and the SSA
 3         47.     Valve is a video game developer, publisher, and digital distribution company. Valve offers
 4 an online platform called Steam, where consumers can purchase, play, discuss, and interact with their

 5 friends about video games. (Lynch Decl. ¶ 2.)

 6         48.     For an individual to create a Steam account and become a Steam user, they must first agree
 7 to the SSA. (Id. ¶ 3.)

 8         49.     Valve has periodically modified the SSA since it was first implemented in 2003.
 9         50.     In 2012, Valve added to the SSA an arbitration agreement providing that, with limited
10 exceptions, users and Valve “agree to resolve all disputes and claims between us in individual binding

11 arbitration” with the AAA. 11 (Lynch Decl. ¶ 4.)

12         51.     On September 26, 2024, Valve launched the Current SSA removing the arbitration
13 agreement and class action waiver. (Lynch Decl. ¶ 5.)

14 B.      The Wolfire Class Action
15         52.     On April 27, 2021, a video game developer named Wolfire Games LLC (“Wolfire”) and
16 two individual consumer plaintiffs filed a putative antitrust class action in this Court against Valve on

17 behalf of a putative class of “[a]ll persons and entities who . . . purchased or sold a PC game on the Steam

18 Store in the United States from January 28, 2017.” Complaint ¶ 231, Wolfire Games LLC v. Valve Corp.,

19 No 2:21-cv-00563-JCC (W.D. Wash. filed Apr. 27, 2021) (Dkt. 1).

20         53.     There were seven individual consumer plaintiffs in the consolidated Wolfire action (the
21 “Wolfire Consumer Plaintiffs”).

22         54.     None of the Wolfire Consumer Plaintiffs are Respondents in this petition.
23

24

25
           11
             In the five years between 2017 and 2022, there were only two instances where Valve and a
26 Steam user could not resolve that user’s issue and proceeded to arbitration. Both of those arbitrations were
   resolved on the merits in Valve’s favor.
27

28   PETITION - 19                                                               CORR CRONIN LLP
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 1 C.        This Court in Wolfire Compels Arbitration as to
             Seven Individual Plaintiffs and Does Not Address Enforceability
 2
             55.     On June 23, 2021, Valve moved to compel the Wolfire Consumer Plaintiffs to arbitrate in
 3
     accordance with the provisions of the Superseded SSA, which was then in effect.
 4
             56.     At that time, the SSA to which the Consumer Plaintiffs had agreed—the Superseded
 5
     SSA—contained a class action waiver and a clause requiring arbitration of all disputes and claims, with
 6
     limited exceptions not applicable to the Wolfire Consumer Plaintiffs’ claims.
 7
             57.     This Court granted Valve’s motion to compel and compelled arbitration only as to the
 8
     Wolfire Consumer Plaintiffs. See Wolfire Games, LLC v. Valve Corp., No. C21-0563, 2021 WL 4952220,
 9
     at *1 (W.D. Wash. Oct. 25, 2021).
10
             58.     This Court declined to rule on the enforceability of the arbitration agreement in the
11
     Superseded SSA. As this Court explained, “the Court must enforce the parties’ agreement to have an
12
     arbitrator decide the broader question of whether the arbitration clause itself is unconscionable.” See
13
     Wolfire, 2021 WL 4952220, at *2. “Accordingly, the question of unconscionability should be determined
14
     in arbitration.” Id.
15
             59.     This Court stayed the seven Wolfire Consumer Plaintiffs’ claims pending arbitration.
16
     Wolfire, 2021 WL 4952220, at *3. 12 However, in light of the removal of the arbitration agreement from
17
     the Current SSA, the Wolfire Consumer Plaintiffs have now moved to lift the stay and proceed with Steam
18
     user claims in Wolfire.
19
             60.     The Wolfire action has since proceeded with respect to the putative video game developer
20
     class. The parties have fully briefed a motion for certification of that class.
21
     D.      Bucher Law and the Genesis of Its Mass Arbitration Against Valve
22
             61.     Bucher Law is a law firm founded by William Ward Bucher IV.
23

24

25
             12
             On July 22, 2022, this Court consolidated Wolfire with a related action, Dark Catt Studios et al.
26 v. Valve Corporation, No. 2:21-cv-00872-JCC (W.D. Wash.), and recaptioned the consolidated action “In
   re Valve Antitrust Litigation.” For simplicity, the consolidated action is referred to herein as “Wolfire.”
27

28    PETITION - 20                                                                  CORR CRONIN LLP
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 1          62.     Prior to founding Bucher Law, the law firm Zaiger hired Mr. Bucher “to lead [the]
 2 development and pursuit of mass arbitration strategies” at Zaiger. Complaint Ex. A (Offer of

 3 Employment), Zaiger LLC v. Bucher Law PLLC, No. 154124-2023 (Sup. Ct. N.Y. Cty. July 26, 2023).

 4          63.     While at Zaiger, Mr. Bucher authored a presentation made to a potential litigation funder
 5 seeking funding for Mr. Bucher’s mass arbitration plans.

 6          64.     The presentation explained that Mr. Bucher intended to “weaponize[]” the arbitration
 7 agreement between Valve and Steam users. (Ex. 1 at 3.) The presentation stated that “[a]ggregating claims

 8 makes [the] entrance fee to just defend prohibitively expensive” to the business. Id. The presentation

 9 expressly targeted Valve and Steam users, including Respondents (Id. at 7.) The presentation enticed the

10 litigation funder with extraordinary returns for financing Mr. Bucher’s mass arbitration plan. (Id. at 9.)

11 The presentation reduced each Steam user to a mere “acquisition” cost. The litigation funder would “spend

12 $3.75 million to recruit 75,000 clients at $50 an acquisition” (Id. at 5.) In exchange, the litigation funder

13 would receive an estimated “1874% ROI on $6.5 million investment” in funding the proposed mass

14 arbitration. (Id. at 9.) Mr. Bucher would persuade a large volume of Steam users to sue Valve, then extort

15 a windfall settlement by threatening Valve with millions of dollars in up front arbitration fees having

16 nothing to do with the merits of Steam users’ claims.

17          65.     On March 1, 2023, Zaiger terminated Mr. Bucher. Mr. Bucher thereafter formed his law
18 firm, Bucher Law.

19          66.     On May 9, 2023, Zaiger filed a lawsuit against Mr. Bucher in the Supreme Court for the
20 State of New York, New York County, alleging, among other things, that Mr. Bucher engaged in

21 misconduct in connection with threatened—and now pending—arbitrations against Valve.

22 Complaint ¶¶ 1-13, Zaiger LLC v. Bucher Law PLLC, No. 154124-2023 (Sup. Ct. N.Y. Cnty. May 9,

23 2023) (Ex. 7).

24          67.     Zaiger alleges that Mr. Bucher, while employed at Zaiger, “snuck into the Firm’s client
25 database,” and “tried to access and download names, addresses, email addresses, and mobile phone

26 numbers of about 48,000 Firm clients whose information was stored on the Firm Database.” Id. ¶ 3.

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 1          68.     Mr. Bucher allegedly used the information he stole to “barrage those Firm Clients with
 2 false and deceptive emails and text messages,” falsely implying that the clients must sign up with his firm

 3 to continue pursuing their mass arbitration claims against Valve. Id. ¶ 5.

 4          69.     Zaiger asserts claims for intentional interference with contractual relationships, unfair
 5 competition, misappropriation, and unjust enrichment against Mr. Bucher based on this alleged

 6 misconduct. Id. ¶¶ 87-122.

 7          70.     On July 2, 2024, the Supreme Court for the State of New York denied Mr. Bucher’s motion
 8 to dismiss Zaiger’s claims. Zaiger LLC v. Bucher Law PLLC, slip op. at 6-10 (Sup. Ct. N.Y. Cnty. Aug. 13,

 9 2024).

10 E.       More than Two Years after This Court in Wolfire Grants Valve’s
            Motion To Compel Arbitration, Bucher Law Commences Arbitrations
11
            71.     On July 12, 2023, Bucher Law sent Valve a letter threatening to bring purported antitrust
12
     claims on behalf of 44,903 individuals. (Fuchs Decl. ¶ 2.) The allegations contained in Bucher Law’s letter
13
     were apparently modeled on those made on behalf of the seven consumers in the Wolfire action.
14
            72.     On October 2, 2023, Bucher Law submitted 997 demands for arbitration against Valve to
15
     the AAA and threatened Valve with filing 18,204 more such demands. (Fuchs Decl. ¶ 3.)
16
            73.     In November and December of 2023, Bucher Law submitted thousands of additional
17
     demands for arbitration against Valve to the AAA. (Fuchs Decl. ¶ 4.)
18
            74.     Bucher Law is currently pursuing arbitrations against Valve before the AAA on behalf of
19
     5,028 claimants. (Fuchs Decl. ¶ 5.)
20
            75.     Among these claimants, the claims of (i) 599 claimants are assigned to merits arbitrators
21
     (not including two additional claimants who are deceased) and (ii) 25 claimants were assigned to
22
     Arbitrator Martin D. Katz before he was disqualified by the AAA. These 624 claimants, collectively,
23
     comprise the Respondents. (Fuchs Decl. ¶ 6; App’x A.)
24
            76.     On September 27, 2024, Bucher Law attempted to file an additional 42,000 arbitration
25
     claims with the AAA. (Fuchs Decl. ¶ 20.) The AAA refused to administer these arbitrations. The AAA
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 1 noted that the claimants could proceed with their claims in court. All of these claimants are members of

 2 the putative classes in Wolfire and Elliott.

 3 F.       Bucher Law Seeks and Obtains Rulings from an Arbitrator
            That the Superseded SSA’s Arbitration Clause Is Unenforceable
 4
            77.     The AAA assigned the claims of 25 claimants to Arbitrator Jeffrey H. Dasteel.
 5
            78.     On May 22, 2024, Bucher Law moved to dismiss arbitrations on behalf of four of the 25
 6
     claimants with arbitrations pending before Arbitrator Dasteel. (Fuchs Decl. ¶ 8.) Bucher Law moved to
 7
     dismiss on the ground that the arbitration agreement in the Superseded SSA (which was then current) was
 8
     unenforceable. (Id.)
 9
            79.     On July 8, 2024, Arbitrator Dasteel granted the four motions. The arbitrator held that the
10
     arbitration agreement in the Superseded SSA was unenforceable. (Fuchs Decl. ¶ 9.)
11
            80.     Arbitrator Dasteel dismissed all four arbitrations on this basis. (Fuchs Decl. ¶ 10.) The
12
     arbitrator held that the four claimants’ claims must be adjudicated in court. (Id.)
13
            81.     The four claimants whose arbitrations Arbitrator Dasteel dismissed are not Respondents in
14
     this petition; they are named plaintiffs in Elliott. (Fuchs Decl. ¶ 11.)
15
            82.     Mr. Bucher has represented in an arbitration hearing that Bucher Law could have sought
16
     and obtained the same unenforceability ruling from Arbitrator Dasteel with respect to the other 21
17
     Respondents whose claims are still pending before Arbitrator Dasteel. (Fuchs Decl. ¶ 12.)
18
            83.     Valve has not challenged and will not challenge Arbitrator Dasteel’s orders on
19
     unenforceability. (Fuchs Decl. ¶ 13.)
20
            84.     Valve did not file a petition to vacate Arbitrator Dasteel’s orders under the Federal
21
     Arbitration Act and the time to do so has now expired. See 9 U.S.C. § 12. (Fuchs Decl. ¶ 13.)
22
     G.     Proposed Class Counsel Commence a Putative Nationwide Class Action in This Court
23
            85.     On August 9, 2024, Proposed Class Counsel filed the Elliott putative nationwide class
24
     action against Valve in this Court.
25

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 1          86.     Proposed Class Counsel named as plaintiffs the four claimants on whose behalf Bucher
 2 Law had sought and obtained orders before Arbitrator Dasteel that the arbitration agreement in the

 3 Superseded SSA was unenforceable. See Complaint ¶¶ 13, 16-19, Elliott (Dkt. 1).

 4          87.     The complaint in Elliott includes all of the claims and relief sought in the arbitrations
 5 Bucher Law is prosecuting on behalf of claimants, including Respondents.

 6          88.     Proposed Class Counsel seek in Elliott to represent a class of consumers that includes all
 7 Respondents and all other claimants in the arbitrations Bucher Law is prosecuting against Valve. The class

 8 is defined as: “All persons and entities who, directly or through an agent, purchased a PC game on the

 9 Steam Store, or purchased an in-game product from a game distributed on the Steam Store, in the United

10 States and its territories.” Complaint ¶ 167, Elliott (Dkt. 1).

11          89.     Proposed Class Counsel represent in the Elliott complaint that “[t]he prosecution of
12 separate actions by individual Class members would create a risk of inconsistent or varying adjudications,

13 establishing incompatible standards of conduct for [Valve].” Complaint ¶ 176, Elliott (Dkt. 1).

14          90.     Bucher Law is prosecuting separate actions in arbitrations before the AAA on behalf of
15 individual Class members, including Respondents.

16          91.     Bucher Law is at the same time representing (i) Respondents in pending arbitrations, and
17 (ii) the named plaintiffs and putative class in Elliott.

18          92.     Bucher Law conceded in dozens of letters to arbitrators that Elliott is “overlapping” with
19 Respondents’ arbitrations.

20          93.     At the time Proposed Class Counsel filed Elliott, Valve’s SSA—the Superseded SSA—
21 contained the arbitration agreement under which this Court compelled the Wolfire Consumer Plaintiffs to

22 arbitration in 2021.

23          94.     Even though the Superseded SSA in effect at the time Elliott was filed included an
24 arbitration agreement, Proposed Class Counsel alleged in Elliott that they can pursue a class action on

25 behalf of a nationwide class in court because Proposed Class Counsel had “won binding decisions from

26 arbitrators rendering Valve’s arbitration provision unenforceable.” Those “binding decisions” are the

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 1 decisions rendered by Arbitrator Dasteel on July 8, 2024. In short, the Elliott case is entirely premised on

 2 the Superseded SSA’s arbitration agreement being unenforceable as to all Steam users.

 3            95.      Proposed Class Counsel alleged in the Elliott complaint that the putative class action is
 4 “superior to any other method for the fair and efficient adjudication of this legal dispute.”

 5            96.      Bucher Law previously told potential arbitration claimants the opposite: Bucher Law
 6 represented to potential claimants in marketing materials that arbitration was the superior venue for

 7 obtaining maximum recovery.

 8            97.      In a marketing video Mr. Bucher widely circulated on YouTube, he represented: “Judge
 9 Coughenour . . . ruled [in Wolfire] that [consumers’] claims should be filed through a process called

10 arbitration. Now that’s good news for PC gamers. Because . . . on average, consumers in arbitration

11 recover hundreds of times more than in a class action.” 13

12 H.         Bucher Law Continues To Prosecute Arbitrations on Behalf
              of Respondents and Other Members of the Elliott Putative Class
13
              98.      After filing the Elliott action, Bucher Law continues to prosecute arbitrations before the
14
     AAA on behalf of Respondents and thousands of other claimants, all of whom are included in the putative
15
     Elliott and Wolfire classes.
16
              99.      Mr. Bucher brazenly conceded in arbitration hearings, and at least one arbitrator has found,
17
     that he is pursuing arbitrations and a parallel class action as a “forum shopping” exercise. (Fuchs Decl.
18
     ¶ 16.)
19
              100.     Mr. Bucher also put this forum shopping in concrete terms. He represented in arbitration
20
     hearings that if Respondents do not like the decisions of an arbitrator at any point up until a merits
21
     determination they might withdraw from the arbitrations and participate in the class action. (Fuchs Decl.
22
     ¶ 17.) Based on this admission, an arbitrator has found that Mr. Bucher was engaged in “bet hedging.”
23
     (Id.)
24

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              13
                   https://www.youtube.com/watch?v=3w_pbejggn8.
27

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 1           101.   In addition, Mr. Bucher admitted that he is using Respondents’ arbitrations as leverage to
 2 further his class action. (Fuchs Decl. ¶ 18.) Indeed, Mr. Bucher represented in arbitration hearings that he

 3 intends to use information learned from arbitration proceedings to support his prosecution of the Elliott

 4 action. (Id.) An arbitrator found on these facts that Mr. Bucher “hopes to use discovery and arbitral

 5 decisions to further its new class action.” (Id.) That arbitrator further held that “it is inefficient and wasteful

 6 to force respondent to arbitrate and litigate simultaneously in multiple fora.” (Id.) That arbitrator also held

 7 that Bucher Law “has engaged in . . . gamesmanship.” (Id.)

 8 I.        Valve Removes the Arbitration Agreement
 9           102.   Valve accepted Arbitrator Dasteel’s determination that the arbitration agreement in the
10 Superseded SSA was unenforceable.

11           103.   On September 26, 2024, Valve removed the arbitration agreement and class action waiver
12 from the SSA. (Lynch Decl. ¶ 5.)

13           104.   When Valve launched the Current SSA, Valve inserted a banner at the top of the agreement
14 prominently announcing: “Valve has updated the Steam Subscriber Agreement. The updates affect your

15 legal rights, including how disputes and claims between you and Valve are resolved. Among other things,

16 the new dispute resolution provisions in Section 10 require that all disputes and claims proceed in court

17 and not in arbitration. Please review carefully.” (Lynch Decl. ¶ 6.) The banner is set forth below.

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     (Id.¶ 6.)
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 1         105.   In addition to the banner displayed above the Current SSA, Valve provided notice of the
 2 change to the SSA to Steam users in three other ways. (Lynch Decl. ¶ 8.)

 3         106.   First, beginning on September 26, 2024, Valve provided email notice to all U.S. Steam
 4 users of the new SSA (the “Email Notice”), sending the notice to the email address of record for their

 5 Steam accounts. (Lynch Decl. ¶ 9.) The Email Notice specifically called out changes to the dispute

 6 resolution provision, providing:

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28   PETITION - 27                                                            CORR CRONIN LLP
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28   PETITION - 28                                                CORR CRONIN LLP
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 1 (Id. ¶ 9.)

 2          107.    The Email Notice included multiple links to the full text of the Current SSA, shown in the
 3 blue text above. (Lynch Decl. ¶ 10.)

 4          108.    Second, beginning on September 26, 2024, Valve provided notice of the new agreement
 5 through an in-app pop-up that appeared when users opened the Steam client (the “Pop-Up Notice”). The

 6 Pop-Up Notice provided:

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     (Lynch Decl. ¶ 11.)
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            109.    In addition to calling out the changes to the dispute resolution provision, the Pop-Up Notice
24
     included multiple links to the full text of the Current SSA, shown in blue text above. (Lynch Decl. ¶ 12.)
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28    PETITION - 29                                                                CORR CRONIN LLP
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 1         110.     The Pop-Up Notice enabled users to agree to the Current SSA by checking a box stating:
 2 “I Agree to the Updated Steam Subscriber Agreement” then clicking “Accept Updated SSA.” (Lynch

 3 Decl. ¶ 13.)

 4         111.     Alternatively, users could close the Pop-Up Notice without agreeing to the Current SSA,
 5 as indicated by the “X” at the top right corner of the pop-up. (Lynch Decl. ¶ 14.)

 6         112.     Third, beginning on September 26, 2024, Valve published a blog post on the Steam
 7 platform       providing   notice   of    the   new     SSA     (the    “Blog       Post”),       available   at
 8 https://store.steampowered.com/news/app/593110/view/4696781406111167991. (Lynch Decl. ¶ 15.) The

 9 Blog Post provided:

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23 (Lynch Decl. ¶ 15.)

24         113.     The Blog Post included multiple links to the full text of the Current SSA, shown in blue
25 text above. (Lynch Decl. ¶ 16.)

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28   PETITION - 30                                                              CORR CRONIN LLP
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 1         114.   The Email Notice and Pop-Up Notice explained: “This updated Steam Subscriber
 2 Agreement will become effective immediately when you agree to it, including when you make most

 3 purchases, fund your Steam Wallet, or otherwise accept it.”

 4         115.   The Email Notice and Pop-Up Notice further provided: “Otherwise, the updated Steam
 5 Subscriber Agreement will become effective on November 1, 2024, unless you delete or discontinue us

 6 of your Steam account before then.”

 7         116.   The Email Notice and Pop-Up Notice explained how users could delete their Steam
 8 account.

 9         117.   Consistent with the Email Notice and Pop-Up Notice, when a user buys a game on Steam,
10 the user is presented with an unchecked box requiring the user to accept the Current SSA, which is

11 hyperlinked to the words “Steam Subscriber Agreement” shown below:

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     (Lynch Decl. ¶ 19.)
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            118.   All Steam users have a “Steam wallet” that contains funds which may be used for the
22
     purchase of any game on Steam or within a game that supports Steam transactions. (Lynch Decl. ¶ 17.)
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28    PETITION - 32                                                            CORR CRONIN LLP
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 1         119.   Consistent with the Email Notice and Pop-Up Notice, when a user funds a Steam Wallet,
 2 the user is presented with an unchecked box requiring the user to accept the Current SSA, which is

 3 hyperlinked to the words “Steam Subscriber Agreement” shown below:

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23 (Lynch Decl. ¶ 20.)

24         120.   At least 461 of the 624 Respondents have affirmatively accepted the Current SSA by

25 (i) checking the check box affirming “I Agree to the Updated Steam Subscriber Agreement” and clicking

26 “Accept Updated SSA” through the Pop-Up Notice, (ii) making a purchase and agreeing to the Current

27 SSA by checking “I agree to the terms of the Steam Subscriber Agreement (last updated Sep 26, 2024)

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 1 and clicking the “Purchase” button, (iii) funding a Steam Wallet and agreeing to the Current SSA by

 2 checking “I agree to the terms of the Steam Subscriber Agreement (last updated Sep 26, 2024) and clicking

 3 the “Purchase” button, or (iv) some combination of options (i)–(iii). (Lynch Decl. ¶ 22; App’x A.)

 4          121.    The remaining 163 Respondents will be bound by the Current SSA pursuant to the terms
 5 of the Email Notice and Pop-Up Notice by November 1, 2024, unless they delete or discontinue use of

 6 their Steam accounts. (Lynch Decl. ¶ 26.)

 7          122.    The Current SSA does not contain an arbitration agreement.
 8          123.    The Current SSA provides that all claims and disputes, including claims and disputes that
 9 arose before the effective date of the Current SSA, must proceed in court in Washington:

10                  You and Valve agree that all disputes and claims between you and Valve
                    (including any dispute or claim that arose before the existence of this or any
11                  prior agreement) shall be commenced and maintained exclusively in any
                    state or federal court located in King County, Washington, having subject
12                  matter jurisdiction.
13 (See Ex. B §10 (available at https://store.steampowered.com/subscriber_agreement/).)

14          124.    The Current SSA contains a merger clause providing as follows:
15                  This Agreement, including any Subscription Terms, Rules of Use, the
                    Valve Privacy Policy, and the Valve Hardware Limited Warranty Policy,
16                  constitutes and contains the entire agreement between the parties with
                    respect to the subject matter hereof and supersedes any prior oral or
17                  written agreements.
18 (See Ex. B §11 (available at https://store.steampowered.com/subscriber_agreement/).)

19 J.       Valve Advises This Court in Wolfire of the Update to the SSA Removing
            the Arbitration Agreement and the Plaintiffs in Wolfire Move to Lift the Stay
20
            125.    On September 27, 2024, Valve filed a status report in the Wolfire action notifying this
21
     Court that Valve had removed the arbitration agreement from the SSA. Valve Corporation’s Status Report
22
     re Order (Dkt. 66), Wolfire (Dkt. 362).
23
            126.    On October 3, 2024, the plaintiffs in the Wolfire action moved to lift the stay of six of the
24
     seven Wolfire Consumer Plaintiffs’ claims. Consumer Plaintiffs’ Motion to Lift Stay, Wolfire (Dkt. 366).
25
     The plaintiffs in Wolfire reasoned that “the changes to Section 10 of the SSA now require all disputes and
26
     claims of subscribers outside of the European Union and United Kingdom to be ‘commenced and
27

28    PETITION - 34                                                                CORR CRONIN LLP
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 1 maintained exclusively in any state or federal court located in King County, Washington, having subject

 2 matter jurisdiction.’” Id. at 2. “This includes ‘any dispute or claim that arose before the existence of this

 3 or any prior agreement.’” Id.

 4          127.    On October 4, 2024, the consumer plaintiffs in the Wolfire action moved to consolidate the
 5 Wolfire and Elliott actions and for the appointment of Vorys, Sater, Seymour and Pease LLP (“Vorys”)

 6 as interim lead class counsel in the consolidated actions. Consumer Plaintiffs’ Motion to Consolidate and

 7 Appoint Vorys, Sater, Seymour and Pease LLP as Interim Lead Class Counsel, Wolfire (Dkt. 370). In their

 8 motion, the plaintiffs in Wolfire accused Proposed Class Counsel of filing a “copycat” action and taking

 9 a “‘passive approach’” to pursuing claims of the class. Id. at 6.

10          128.    On October 17, 2024, the consumer plaintiffs in the Wolfire action opposed Proposed Class
11 Counsel’s motion to be appointed interim co-lead counsel. Consumer Plaintiffs’ Opposition to Plaintiffs’

12 Opposition to Plaintiffs’ Motion to Appoint Hagens Berman Sobol Shapiro LLP and Bucher Law PLLC

13 as Interim Co-Lead Class Counsel, Elliott (Dkt. 36) (Ex. 14). In their opposition, the Wolfire consumer

14 plaintiffs reiterated that “[a] concerning amount of [Proposed Class Counsel’s] Class Action Complaint

15 repeats—word for word—allegations from the Consolidated Amended Class Action Complaint in

16 [Wolfire] authored by Vorys and co-counsel.” Id. at 5. The Wolfire consumer plaintiffs identified “forty

17 examples of the Elliott Complaint parroting the exact same language used in the [Wolfire] Complaint.” Id.

18 K.       Bucher Law and Co-Counsel File a Motion in Elliott To Be Appointed
            Interim Co-Lead Counsel Asserting that the Current SSA Applies to All Claimants
19
            129.    On October 2, 2024, Proposed Class Counsel filed a motion to be appointed as interim co-
20
     lead class counsel in Elliott. Plaintiffs’ Motion to Appoint Hagens Berman Sobol Shapiro LLP and Bucher
21
     Law PLLC as Interim Co-Lead Class Counsel, Elliott (Dkt. 25).
22
            130.    In that motion, Proposed Class Counsel represented to this Court that Valve had
23
     “remove[d] the arbitration provision from its terms of use, along with the associated class action waiver.”
24
     Id. at 5. In the next sentence, Proposed Class Counsel represented: “As a result, Valve consumers are
25
     authorized to proceed in federal court and seek collective relief through the class action vehicle.” Id.
26
     (emphasis added).
27

28    PETITION - 35                                                               CORR CRONIN LLP
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 1         131.    Proposed Class Counsel therefore represented to this Court that the Current SSA applies to
 2 all Valve consumers, including Respondents and all other claimants in the arbitrations Bucher Law is

 3 prosecuting before the AAA.

 4         132.    On October 17, 2024, Valve filed a response to Proposed Class Counsel’s motion to be
 5 appointed interim co-lead counsel. Elliott (Dkt. 32). In its response, Valve explained that Proposed Class

 6 Counsel have an irreconcilable conflict that prevents them from serving as counsel to the putative class

 7 while prosecuting arbitrations on behalf of Respondents and other claimants.

 8 L.      Bucher Law Continues To Prosecute Arbitrations
           and To Argue Before the AAA and Arbitrators that
 9         the Current SSA Does Not Apply to Valve Customers
10         133.    Bucher Law represented to this Court in Elliott that the Current SSA applied to all Valve
11 consumers, including Respondents and all other claimants Bucher Law represents in pending arbitrations.

12 Bucher Law took the opposite position in arbitration proceedings on behalf of Respondents and other

13 claimants Bucher Law represents.

14         134.    In arbitration proceedings before the AAA, Bucher Law has stridently asserted that the
15 arbitration agreement in the Superseded SSA is enforceable and the Current SSA is invalid.

16         135.    Indeed, on September 27, 2024, just a day after Valve removed the arbitration agreement
17 from the SSA, Bucher Law attempted to file with the AAA 42,000 new consumer arbitrations based on

18 the same allegations as in Respondents’ arbitrations and pursuant to the arbitration agreement in the

19 Superseded SSA. (Fuchs Decl. ¶ 20.)

20         136.    Bucher Law could not attempt to file new consumer arbitrations unless its position was that
21 the Current SSA did not apply to these consumers.

22         137.    In an arbitration hearing on October 2, 2024, Mr. Bucher represented: “These reported
23 changes of terms, which appear to be an attempted unilateral modification, . . . under black-letter contract

24 law, [are] not permitted.” (Fuchs Decl. ¶ 21.)

25         138.    In a letter to the AAA dated October 6, 2024, Bucher Law represented that Valve’s
26 “purported recent, unilateral amendment of its contract with claimants (deleting the arbitration

27

28   PETITION - 36                                                               CORR CRONIN LLP
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 1 agreement)” was without effect and did not mandate that the arbitrations be closed. (Fuchs Decl. ¶ 22.)

 2 Bucher Law described Valve’s update to the SSA as a “unilateral and legally infirm terms of use

 3 modification.” (Id.)

 4          139.   Bucher Law has doubled down on this position in submissions to arbitrators. In a letter
 5 dated October 14, 2024, Bucher Law asserted that “[t]he Federal Arbitration Act’s mandate that arbitration

 6 agreements are ‘irrevocable’ prevents Valve Corporation from revoking their arbitration agreement.”

 7 (Fuchs Decl. ¶ 23.) Bucher Law further argued that the Current SSA is a “[u]nilateral modification[]” that

 8 is “unconscionable and therefore unenforceable.” (Id.) Bucher Law also contended that Valve’s “unilateral

 9 modification to the terms . . . violates the implied covenant of good faith and fair dealing, making the

10 purported new terms unenforceable.” (Id.) These positions are all incorrect as a matter of law. They are

11 also directly contrary to what Proposed Class Counsel has represented to this Court in the Elliott action.

12          140.   Bucher Law does not deny that it is taking inconsistent positions to this Court in Elliott
13 (where Bucher Law argues that the Current SSA applies to all members of the putative class) and to

14 arbitrator and the AAA in arbitrations (where Bucher Law argues that the Current SSA does not apply to

15 Respondents or other claimants who are members of the putative class).

16          141.   Bucher Law has sought to justify this inconsistency on the ground that it is not speaking
17 on behalf of the putative class in the arbitrations.

18          142.   Bucher Law’s co-counsel in the arbitrations has stated in an arbitration hearing on behalf
19 of certain Respondents: “Yeah, I won’t deny that [Mr. Bucher] made those [inconsistent] representations

20 on behalf of those clients [in Elliott]. But he has not made that argument for these three clients nor have

21 I. And, you know, black letter law, lawyers are allowed to make different arguments for different clients,

22 and that’s -- we all do that, you know, for whatever reasons.”

23

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28    PETITION - 37                                                              CORR CRONIN LLP
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 1 M.         Bucher Law Asserts in California State Court
              that the Current SSA Does Not Apply to a Valve Customer
 2
              143.   Bucher Law represented to this Court in Elliott that the Current SSA applied to all Valve
 3
     consumers, including Respondents and all other claimants in pending arbitrations. Bucher Law took the
 4
     opposite position in a petition recently filed in California state court.
 5
              144.   On August 27, 2024, AAA disqualified Arbitrator Martin D. Katz.
 6
              145.   On October 4, 2024, Bucher Law filed a petition in the Superior Court of the State of
 7
     California, Los Angeles County, on behalf of an individual claimant and Respondent in this petition to
 8
     vacate the AAA’s disqualification of Arbitrator Katz.
 9
              146.   There would be no reason for Bucher Law to seek reinstatement of Arbitrator Katz if the
10
     Current SSA applied because under the Current SSA, Valve and Respondents’ claims must proceed in
11
     court.
12
              147.   Bucher Law’s petition therefore assumes that the Current SSA does not apply to the
13
     petitioner and Respondent in this petition.
14
              148.   Among the 25 claimants assigned to Arbitrator Katz before he was disqualified, 18 have
15
     already agreed to the Current SSA.
16
     N.       Proposed Class Counsel’s Representation of the
17            Putative Class in Elliott and Members of the Putative Class
              in Arbitrations Creates Divided Loyalties and a Clear Conflict of Interest
18
              149.   Bucher Law’s loyalties are divided between (i) Respondents and other individual
19
     arbitration claimants who are also putative class members and (ii) the putative class. Those divided
20
     loyalties create a clear conflict of interest.
21
              150.   Class counsel has a duty of loyalty not only to named plaintiffs in a putative class action,
22
     but also absent class members. “Courts have consistently held that counsel cannot simultaneously
23
     represent a class and prosecute either individual or class claims against the same defendants in a different
24
     proceeding.” 1 McLaughlin on Class Actions § 4:39 (20th ed.) (collecting cases). Proposed Class
25
     Counsel’s representation of both the putative class in Elliott and Respondents and other individual
26
     claimants in the arbitrations creates the very conflicts contemplated in this well-established body of law.
27

28    PETITION - 38                                                                    CORR CRONIN LLP
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 1            151.   Overlapping representations are inherently conflicted because they risk favoring one subset
 2 of the class over another.

 3            152.   The mere appearance of divided loyalties creates an irreconcilable conflict. 14
 4            153.   Proposed Class Counsel’s representation of both the putative class in the Elliott action and
 5 individual claimants in the arbitrations creates this very conflict. It gives rise to the risk that counsel could

 6 (i) trade off interests in some cases for others, (ii) take actions in one set of cases that could harm the other,

 7 (iii) prioritize individual arbitration claimants over the class and sell out the absent class members, and

 8 (iv) try to settle all claims at once, thereby creating opportunities to manipulate the allocation of settlement

 9 dollars.

10            154.   Proposed Class Counsel’s effort to bring the Elliott action on behalf of a putative class
11 depends on Proposed Class Counsel’s contention that the Superseded SSA is not enforceable and the

12 Current SSA applies to all members of the putative class. But on behalf of a subset of Respondents and

13 other putative class members in the arbitrations, Bucher Law is claiming the Current SSA is invalid, and

14 the Superseded SSA’s arbitration provision is enforceable. These contradictory positions likely breach

15 counsel’s duties to Respondents and other claimants and to the putative class.

16 O.         Valve Requests that the AAA Administratively Close Claimants’ Arbitrations
17            155.   On September 27, 2024, Valve notified the AAA that (i) an arbitrator ruled that the
18 arbitration agreement in the Superseded SSA was unenforceable and (ii) Valve then removed the

19 arbitration agreement from the SSA that was the basis for jurisdiction with the AAA. (Ex. 6 at 1-2.) Valve

20 therefore requested that the AAA administratively close the arbitrations Bucher Law was prosecuting on

21 behalf of Valve customers. (Id. at 2.)

22            156.   In response, Bucher Law argued that Valve’s request should be denied because the
23 Superseded SSA’s arbitration agreement remains valid and enforceable and the AAA is an administrative

24

25            14
              On October 17, 2024, Valve filed a response to Proposed Class Counsel’s motion to be appointed
   co-lead interim counsel detailing the conflict issues noted herein. See Valve Corporation’s Response to
26 Plaintiff’s Motion to Appoint Hagens Berman Sobol Shapiro LLP and Bucher Law PLLC as Interim Co-
   Lead Counsel, Elliott (Dkt. No. 32).
27

28   PETITION - 39                                                                   CORR CRONIN LLP
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 1 body that cannot make legal determinations. (Fuchs Decl. ¶ 22.) Despite the Elliott case being premised

 2 on the Superseded SSA being unenforceable, Bucher Law described Valve’s implementation of the

 3 Current SSA as a “unilateral and legally infirm terms of use modification.” (Id.)

 4          157.    On October 7, 2024, the AAA notified Valve and Claimants’ Counsel that it would not
 5 administratively close Respondents’ arbitration proceedings. The AAA stated that, “in the absence of an

 6 agreement by the parties or a court order staying or closing these matters, we will proceed with

 7 administration.” (Ex. 5 (emphasis added).)

 8          158.    The AAA notified Valve that it would leave it to a court or 34 merits arbitrators presiding
 9 over 601 pending cases, including all 599 of Respondents’ cases (and two additional cases involving

10 deceased claimants who are not Respondents), to address what the AAA described as “issues of

11 arbitrability and disputes surrounding the applicable contract.” (Ex. 5.)

12 P.       A Court Must Resolve the Parties’ Dispute as to Whether the
            Superseded SSA or the Current SSA Applies to Respondents’ Claims
13
            159.    The Supreme Court held in a unanimous decision issued in May 2024 that a dispute as to
14
     whether an earlier arbitration agreement or a subsequent agreement applies to a claimant’s claim must be
15
     decided by a court and not an arbitrator. See Coinbase, Inc. v. Suski, 602 U.S. 143, 152 (2024). The Court
16
     explained that “disputes are subject to arbitration if, and only if, the parties actually agreed to arbitrate
17
     those disputes.” Id. at 145. Consequently, “a court needs to decide what the parties have agreed to—i.e.,
18
     which contract controls.” Id. The Court came to this conclusion even though the prior agreement in
19
     Coinbase delegated questions of enforceability to the arbitrator.
20
            160.    Coinbase is directly on point here and requires that the court resolve the parties’ dispute as
21
     to which arbitration agreement applies as between the Superseded SSA and the Current SSA.
22

23

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28    PETITION - 40                                                                CORR CRONIN LLP
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 1 Q.      All Respondents Are or Will by November 1, 2024, Be Bound by the Current SSA
 2         (a)      All Respondents Received Notice of the SSA Update
 3         161.     Between September 26, 2024, and September 27, 2024, Valve sent the Email Notice to

 4 every Respondent providing notice of the new SSA. (Lynch Decl. ¶ 21.)

 5         162.     Every Respondent who has logged into his or her account on the Steam client between

 6 September 27, 2024, and the present also received the Pop-Up Notice providing notice of the new SSA.

 7         163.     The Blog Post has also been published on the Steam platform and available to Respondents
                                                             15
 8 continuously between September 26, 2024, and the present.

 9         164.     The Current SSA has been available online from September 26, 2024, to the present, in 10

10 languages, through https://store.steampowered.com/subscriber_agreement/.

11         (b)      At Least 461 Respondents Have Affirmatively Agreed to the Current SSA
12         165.     At least 461 of the 624 Respondents have affirmatively accepted the Current SSA (the

13 “Presently Bound Respondents”). (Lynch Decl. ¶ 22; App’x A.)

14         166.     The Superseded SSA provided that Valve and users may mutually amend the agreement.

15 It provided: “This Agreement may at any time be mutually amended by your explicit consent to changes

16 proposed by Valve.”

17         167.     At least 422 Respondents affirmatively accepted the Current SSA by checking the check

18 box affirming “I Agree to the Updated Steam Subscriber Agreement” and clicking “Accept Updated SSA”

19 through the Pop-Up Notice. (Lynch Decl. ¶ 23; App’x A.)

20         168.     At least 39 Respondents affirmatively accepted the Current SSA by making a purchase and

21 agreeing to the Current SSA by checking “I agree to the terms of the Steam Subscriber Agreement (last

22 updated Sep 26, 2024).” (Lynch Decl. ¶ 24; App’x A.)

23

24

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26
           15
                https://store.steampowered.com/news/app/593110/view/4696781406111167991.
27

28   PETITION - 41                                                              CORR CRONIN LLP
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 1            (c)    The Remaining 163 Respondents Will Be
                     Bound by the Current SSA by November 1, 2024
 2
              169.   The remaining 163 Respondents will be bound by the Current SSA by November 1, 2024,
 3
     as set forth in the Email Notice and Pop-Up Notice (the “November 1 Bound Respondents”). (Lynch Decl.
 4
     ¶ 26.)
 5
              170.   The Superseded SSA provided that Valve may unilaterally amend the agreement. It
 6
     provided:
 7
                     Valve may amend this Agreement (including any Subscription Terms or
 8                   Rules of Use) unilaterally at any time in its sole discretion. In this case, you
                     will be notified by e-mail of any amendment to this Agreement made by
 9                   Valve at least 30 (30) days before the effective date of the amendment. You
                     can view the Agreement at any time at http://www.steampowered.com/.
10                   Your failure to cancel your Account prior to the effective date of the
                     amendment will constitute your acceptance of the amended terms. If you
11                   don’t agree to the amendments or to any of the terms in this Agreement,
                     your only remedy is to cancel your Account or to cease use of the affected
12                   Subscription(s). Valve shall not have any obligation to refund any fees that
                     may have accrued to your Account before cancellation of your Account or
13                   cessation of use of any Subscription, nor shall Valve have any obligation to
                     prorate any fees in such circumstances. (Ex. A §8(B).)
14
              171.   All November 1 Bound Respondents received the Email Notice.
15
              172.   The Email Notice provided: “This updated Steam Subscriber Agreement will become
16
     effective immediately when you agree to it, including when you make most purchases, fund your Steam
17
     Wallet, or otherwise accept it. Otherwise, the updated Steam Subscriber Agreement will become
18
     effective on November 1, 2024, unless you delete or discontinue us of your Steam account before
19
     then.”
20
              173.   The Pop-Up Notice provided: “This updated Steam Subscriber Agreement will become
21
     effective immediately when you agree to it, including when you make most purchases, fund your Steam
22
     Wallet, or otherwise accept it. Otherwise, the updated Steam Subscriber Agreement will become
23
     effective on November 1, 2024, unless you delete or discontinue us of your Steam account before
24
     then.”
25
              174.   As of October 15, 2024, no Respondent has deleted or requested to delete his or her Steam
26
     account. (Lynch Decl. ¶ 27.)
27

28    PETITION - 42                                                                  CORR CRONIN LLP
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 1          175.    Continued use of a service after the service provider implements new terms of service and
 2 provides notice of the new terms constitutes affirmative acceptance of those terms.

 3          176.    As a matter of law, the November 1 Bound Respondents’ failure to delete or discontinue
 4 use of Steam after Valve implemented the Current SSA will constitute affirmative acceptance of the

 5 Current SSA as a matter of law and in accordance with the modification procedure to which they agreed

 6 in the Superseded SSA.

 7 R.       Respondents’ Claims Must Proceed in Court Under the Current SSA
 8          177.    Respondents’ claims must proceed in court in Washington pursuant to the Current SSA.
 9          178.    The Current SSA provides that all claims and disputes, including claims and disputes that
10 arose before the Current SSA, must proceed in court in Washington:

11                  You and Valve agree that all disputes and claims between you and Valve
                    (including any dispute or claim that arose before the existence of this or any
12                  prior agreement) shall be commenced and maintained exclusively in any
                    state or federal court located in King County, Washington, having subject
13                  matter jurisdiction.
14 (See Ex. B §10 (available at https://store.steampowered.com/subscriber_agreement/english/#10).)

15          179.    The plain language of this clause states that it applies to all disputes or claims that arose
16 before the existence of the Current SSA, which includes Respondents’ claims in pending arbitrations

17 before the AAA.

18          180.    Under well-settled law, a forum selection clause applies to accrued claims, including
19 pending claims, where, as here, the clause expressly provides for retroactive effect. See, e.g., Dasher v.

20 RBC Bank (USA), 745 F.3d 1111, 1127 (11th Cir. 2014) (new agreement without arbitration clause

21 superseded and applied retroactively to foreclose arbitration under a prior agreement containing an arbitration

22 clause where claim was originally asserted when defendant had arbitration clause); In re Nat’l Football

23 League’s Sunday Ticket Antitrust Litig., 2021 WL 2350814, at *4 (C.D. Cal. Apr. 20, 2021) (enforcing

24 agreement revised two years after suit filed); Laster v. T-Mobile USA, Inc., 2008 WL 5216255, at *6 (S.D.

25 Cal. Aug. 11, 2008) (holding that agreement that “retrospectively modif[ied] the original service contract

26 after the present litigation had already begun” nonetheless applied).

27

28    PETITION - 43                                                                CORR CRONIN LLP
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 1 S.       Allowing the Bucher Law Arbitrations on Behalf of
            Respondents To Proceed Would Interfere with the Jurisdiction of
 2          This Court in Elliott and Wolfire in Violation of the All Writs Act
 3          181.    Bucher Law is prosecuting arbitrations before the AAA on behalf of Respondents.

 4          182.    Proposed Class Counsel are also prosecuting a putative class action in this Court, the Elliott

 5 action, on behalf of a putative class that includes Respondents and encompasses all of the claims and relief

 6 sought in Respondents’ arbitrations.

 7          183.    There is also a parallel putative class action in this Court, the Wolfire action, brought on

 8 behalf of a putative class that includes Respondents and encompasses all of the claims and relief sought

 9 in Respondents’ arbitrations.

10          184.    It would threaten the jurisdiction of this Court and any judgment of this Court in Elliott

11 and Wolfire for arbitrations prosecuted by Bucher Law on behalf of Respondents to proceed because the

12 arbitrations could result in rulings inconsistent with the rulings of this Court.

13          185.    It would also be a manifest waste of the parties’ and judicial resources to permit Bucher

14 Law to forum shop by proceeding in two forums on behalf of the putative class.

15 T.       Valve Is Suffering and Will Continue To Suffer Irreparable Harm
16          186.    Valve is suffering, and absent an order enjoining Respondents’ arbitrations, will continue

17 to suffer irreparable harm if the arbitrations Bucher Law is prosecuting on behalf of Respondents proceed.

18          187.    Absent an injunction, arbitrations with respect to the claims of Respondents likely will

19 proceed before the AAA.

20          188.    Although Valve has requested that the AAA close the arbitrations administratively for lack

21 of jurisdiction, the AAA determined that a court or the merits arbitrators must resolve that question.

22          189.    The arbitrators cannot decide the parties’ dispute as to whether the Superseded SSA or the

23 Current SSA governs Respondents’ arbitrations.

24          190.    Under Coinbase, this Court must make that determination.

25          191.    Nonetheless, arbitrators in several of Respondents’ arbitrations before the AAA have

26 held—despite not having the legal capacity to do so—that the arbitrations may proceed. (Fuchs Decl.

27

28    PETITION - 44                                                                CORR CRONIN LLP
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 1 ¶ 24.) Other arbitrators have stayed proceedings. (Id.) And still other arbitrators have ordered the parties

 2 to brief which agreement applies to Respondents’ claims, even though that is a determination that only a

 3 court can make. (Id.)

 4         192.    Absent an injunction, Valve will expend time and resources defending against
 5 Respondents’ claims in arbitration, none of which are arbitrable.

 6         193.    This time and expense incurred will be substantial. Arbitrations are proceeding before 34
 7 different arbitrators. (Fuchs Decl. ¶ 25.) Each arbitrator holds separate hearings, requires the parties to

 8 brief and argue issues separately, and issues separate orders on discovery issues. (Id.)

 9         194.    The threshold issue of which SSA governs will be submitted to multiple arbitrators (who
10 cannot decide that issue under Coinbase) while this petition proceeds simultaneously, risking inconsistent

11 rulings and wasteful proceedings.

12         195.    Any arbitral awards will not be enforceable because there is no right to arbitrate.
13         196.    Any arbitral decisions, orders, or awards may also conflict with rulings of this Court in
14 Wolfire and/or Elliott presiding over putative class actions that include Respondents as putative class

15 members and the claims and relief sought in Respondents’ duplicative arbitrations.

16         197.    As Proposed Class Counsel acknowledge in the complaint in Elliott, “[t]he prosecution of
17 separate actions by individual Class members would create a risk of inconsistent or varying adjudications,

18 establishing incompatible standards of conduct for [Valve].” Complaint ¶ 176, Elliott (Dkt. 1).

19 U.      The Balance of Equities Favors Valve
20         198.    The balance of equities supports an injunction.
21         199.    Forcing Valve to engage in arbitration where Respondents are not bound to arbitrate and
22 instead must pursue their claims in court under the Current SSA serves no equitable purpose.

23         200.    On the contrary, Valve will be subject to harassing and vexatious proceedings that Bucher
24 Law on behalf of Respondents has no right to pursue.

25         201.    Indeed, Bucher Law targeted Valve and Steam users, including Respondents, to
26 “weaponize[]” Valve and Respondents’ now superseded SSA. (Ex. 1 at 3.)

27

28   PETITION - 45                                                               CORR CRONIN LLP
                                                                            1015 Second Avenue, Floor 10
     2:24-cv-1717                                                          Seattle, Washington 98104-1001
                                                                                  Tel (206) 625-8600
                                                                                  Fax (206) 625-0900
         Case 2:21-cv-00563-JNW
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 1          202.     Bucher Law stated that “[a]ggregating claims makes [the] entrance fee to just defend
 2 prohibitively expensive,” providing leverage for immediate settlements. (Ex. 1 at 3.)

 3          203.     To effectuate this strategy, Bucher Law commenced thousands of arbitrations, apparently
 4 without conducting any investigation: it filed arbitrations on behalf of at least seven individuals who

 5 appear to be deceased; at least 96 individuals who are represented by other law firms asserting

 6 substantively identical arbitration claims, and at least 19 individuals who are in active bankruptcy

 7 proceedings. 16

 8          204.     On October 20, 2023, Valve filed a lawsuit against Bucher Law alleging that Bucher Law
 9 committed abuse of process and tortious interference with Valve’s SSA with Steam users through Bucher

10 Law’s mass arbitration scheme targeting Valve. See Complaint, Valve Corp. v. Bucher Law PLLC, No. 23-

11 2-20447-6-SEA (Wash. Super. Ct. filed Oct. 2, 2023) (Ex. 2.) Bucher Law sought to dismiss that lawsuit.

12 The court denied Bucher Law’s request, finding that (i) “Valve has alleged sufficient facts to establish a

13 plausible claim of tortious interference” and (ii) “Valve has also alleged sufficient facts to plausibly allege

14 a claim of abuse of process, particularly given the unique circumstances of the case.” (Ex. 3 at 2.)

15          205.     Bucher Law has conceded that Bucher Law intended to forum shop by prosecuting a class
16 action in Elliott and individual actions on behalf of putative class members in arbitration. (Fuchs Decl.

17 ¶ 16.) Nor do Respondents receive any benefit from proceeding with arbitration. Respondents will waste

18 time and energy pursuing arbitrations at Bucher Law’s behest that cannot proceed and where any arbitral

19 award will be vacated.

20          206.     Respondents will also suffer no prejudice from an injunction. Respondents may pursue
21 their claims in court.

22          207.     In fact, there are already two putative class actions against Valve, Wolfire (which was filed
23 in 2021, well before Bucher Law filed its arbitrations) and Elliott, asserting overlapping claims on behalf

24 of Respondents and other members of a putative nationwide class.

25

26          16
              These statistics do not include the additional 42,000 claimants on whose behalf Bucher Law
     attempted unsuccessfully to file arbitrations.
27

28    PETITION - 46                                                                 CORR CRONIN LLP
                                                                               1015 Second Avenue, Floor 10
      2:24-cv-1717                                                            Seattle, Washington 98104-1001
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                                                                                     Fax (206) 625-0900
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 1         208.   Respondents may not be aware of these two pending putative class actions.
 2 V.      The Public Interest Favors an Injunction
 3         209.   There is no public interest in requiring Valve and Respondents to arbitrate disputes that
 4 must proceed in court and where any arbitral award will be vacated.

 5         210.   Permitting arbitrations and parallel actions, including the Elliott and Wolfire putative class
 6 actions, to proceed would be a manifest waste of judicial resources.

 7                                         PRAYER FOR RELIEF
 8         WHEREFORE, Valve respectfully requests that this Court award the following relief:
 9         (a)    A declaration pursuant to 28 U.S.C. § 2201 that the Current SSA is valid and enforceable.
10         (b)    A declaration pursuant to 28 U.S.C. § 2201 that the Current SSA, including Section 10 of
11                the Current SSA, applies to all disputes and claims between Valve and its users regardless
12                of when they arose, including all claims in pending arbitrations.
13         (c)    A declaration pursuant to 28 U.S.C. § 2201 that the Presently Bound Respondents have
14                entered into the Current SSA and are bound by the Current SSA.
15         (d)    A declaration pursuant to 28 U.S.C. § 2201 that the November 1 Bound Respondents will
16                enter into the Current SSA by no later than November 1, 2024, and will be bound by the
17                Current SSA by that date.
18         (e)    An order pursuant to 9 U.S.C. § 4, 28 U.S.C. §§ 2201-02, and 28 U.S.C. § 1651(a),
19                enjoining Respondents’ arbitrations before the AAA that Bucher Law is prosecuting on
20                Respondents’ behalf.
21         (f)    Any other relief that the Court deems just and appropriate.
22

23

24

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27

28   PETITION - 47                                                               CORR CRONIN LLP
                                                                            1015 Second Avenue, Floor 10
     2:24-cv-1717                                                          Seattle, Washington 98104-1001
                                                                                  Tel (206) 625-8600
                                                                                  Fax (206) 625-0900
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 1 DATED this 18th day of October 2024.

 2
                                          s/ Blake Marks-Dias
 3                                        Blake Marks-Dias, WSBA No. 28169
                                          CORR CRONIN LLP
 4                                        1015 Second Avenue, Floor 10
                                          Seattle, Washington 98104-1001
 5                                        (206) 625-8600 Phone
                                          (206) 625-0900 Fax
 6                                        bmarksdias@corrcronin.com
 7                                        Michael W. McTigue Jr., Pro Hac Vice Forthcoming
                                          Meredith C. Slawe, Pro Hac Vice Forthcoming
 8                                        SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
                                          One Manhattan West
 9                                        New York, NY 10001
                                          michael.mctigue@skadden.com
10                                        meredith.slawe@skadden.com
11
                                          Attorneys for Petitioner Valve Corporation
12

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28   PETITION - 48                                                      CORR CRONIN LLP
                                                                   1015 Second Avenue, Floor 10
     2:24-cv-1717                                                 Seattle, Washington 98104-1001
                                                                         Tel (206) 625-8600
                                                                         Fax (206) 625-0900
Case 2:21-cv-00563-JNW
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                        APPENDIX A
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                                                                            Current SSA   Current SSA
 Claimant              Claimant
                                         Case Number           Arbitrator   Accepted By   Accepted By
First Name            Last Name1
                                                                             Purchase       Pop-Up
   Ryan                  Ardito         012300053635            Badal
   Riley                Baxter          012300053643            Badal                         X
 Michael                Brewer          012300053651            Badal                         X
  Owen               Butterworth        012300053641            Badal
Jonathan                Carlton         012300053626            Badal
 Michael               Eastman          012300053631            Badal
 Brandon               Garwell          012300053628            Badal                         X
   Liam            Gaume-wakefield      012300053650            Badal                         X
    Ian                 Govea           012300053634            Badal                         X
   Evan                  Grant          012300053632            Badal                         X
   Ricky                Horne           012300053630            Badal                         X
   Dane                 Jordan          012300053652            Badal           X
Nicholas                 Keith          012300053648            Badal                         X
     Aj                   Lane          012300053636            Badal
   Max                 Moakley          012300053627            Badal                         X
 Malakye                Moody           012300053644            Badal           X
  Harley                Palmer          012300053637            Badal                         X
 Mitchell             Papendorf         012300053646            Badal                         X
   Alex                 Patrao          012300053625            Badal                         X
    Eric                Patton          012300053639            Badal                         X
 Anthony                Rubino          012300053647            Badal                         X
 Zachary                 Smith          012300053642            Badal                         X
  Isaiah                 Taylor         012300053633            Badal           X
   Cody                 Warren          012300053640            Badal                         X
   Brian                  Yeh           012300053629            Badal                         X
  Jacob                 Archer          012300053080            Brooks                        X
    Eric                 Buck           012300053195            Brooks                        X
   Paul                 Burnett         012300053051            Brooks
 Harrison               Carlow          012300052857            Brooks                        X
 Spencer                Duzant          012300053604            Brooks                        X
  Robert                Fischer         012300053152            Brooks                        X
Matthew               Habursky          012300053000            Brooks
  Daniel                Harley          012300053112            Brooks
  Logan                 Herald          012300053211            Brooks                        X
Philipjohn             Holland          012300057450            Brooks                        X
Matthew                  Husar          012300053200            Brooks

 1
     Names based on information provided by Bucher Law PLLC.
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                                                               Current SSA   Current SSA
 Claimant       Claimant
                                Case Number       Arbitrator   Accepted By   Accepted By
First Name     Last Name1
                                                                Purchase       Pop-Up
    Nick          Lauder        012300053351       Brooks                        X
    Sam           Lomax         012300053448       Brooks                        X
Panayiotis     Maniscalco       012300052879       Brooks          X
    Ross         Martikke       012300053423       Brooks                        X
    Luke        Ninemire        012300053816       Brooks                        X
  Joseph            Risi        012300053838       Brooks                        X
  Joshua          Sayles        012300052851       Brooks
    Jake           Sigal        012300053654       Brooks                        X
 Holden          Stender        012300053807       Brooks                        X
    Tyler        Strenge        012300052865       Brooks                        X
   Jonah          Warner        012300053348       Brooks                        X
    Eric        Alspaugh        012300053672       Coher                         X
   Noah      Babincsak Styzen   012300053666       Coher                         X
 Stephen            Barr        012300053653       Coher                         X
 Michael          Bazzell       012300053662       Coher                         X
 Anthony         Bennett        012300053674       Coher                         X
 Vincent          Brown         012300053663       Coher
   Ethan          Brown         012300053682       Coher                         X
    Ned            Budd         012300053665       Coher                         X
Benjamin        Camenker        012300053669       Coher
  Traber          Fischer       012300053680       Coher                         X
   Mikel         Hatcher        012300053676       Coher           X
 Michael          Kutner        012300053673       Coher                         X
 Timothy          Leucht        012300053660       Coher
  Joshua           Lewis        012300053664       Coher                         X
   Talon           Lewis        012300053667       Coher                         X
Jonathan           Lewis        012300053668       Coher                         X
 Thomas           Magera        012300053661       Coher           X
    Kyle         Mayfield       012300053679       Coher                         X
  Hunter        Mcbrayer        012300053670       Coher
    Trey         Mundell        012300053657       Coher           X
   Harsh           Patel        012300053659       Coher                         X
   Noah            Perry        012300053675       Coher                         X
   Aaron         Peterson       012300053677       Coher                         X
    Jerry          Terry        012300053658       Coher
  Tristen        Watson         012300053655       Coher                         X
    Amir          Wright        012300038815       Coher                         X
 Carissa         Campos         012300053425        Cohn



                                              2
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                                                            Current SSA   Current SSA
 Claimant       Claimant
                             Case Number       Arbitrator   Accepted By   Accepted By
First Name     Last Name1
                                                             Purchase       Pop-Up
 Matthew          Fossett    012300053426        Cohn                         X
  Austin          Maltbia    012300053421        Cohn
  Elijah         Monroe      012300053427        Cohn           X
   Seth            Myers     012300053424        Cohn                         X
Benjamin       Shemenski     012300053422        Cohn                         X
    Ely           Young      012300053419        Cohn                         X
  Jonah           Anders     012300053368       Collins                       X
  Daniel        Armstrong    012300053486       Collins                       X
 Michael          Blanco     012300053525       Collins                       X
  Jason          Courter     012300053312       Collins                       X
Drevayne         Dawkins     012300057461       Collins         X
   John           Forrest    012300052880       Collins                       X
 Donald        Goldsmith     012300057449       Collins                       X
    Eli            Groff     012300052990       Collins                       X
Christian       Horazeck     012300053527       Collins                       X
   Odis          Kendrick    012300052856       Collins
   Mark             Legg     012300053004       Collins
   Kyle            Lynch     012300057462       Collins
 Clayton            Lynn     012300053808       Collins
   Yuri           Motruk     012300053738       Collins                       X
  Collin         Peacock     012300057453       Collins                       X
  Deven          Peterson    012300053275       Collins                       X
   John        Quarnstrom    012300053316       Collins                       X
  Tracy        Richardson    012300053361       Collins                       X
  Julius         Roberts     012300053247       Collins                       X
  Chris         Robinson     012300053649       Collins                       X
  Robert            Rule     012300052881       Collins                       X
  Robert        Schindler    012300053084       Collins                       X
  Daniel           Smith     012300052869       Collins                       X
 J Derek          Wright     012300057442       Collins                       X
  Gavin            Baker     012300052868       Dasteel
Stephanie      Blomstrom     012300052896       Dasteel                       X
   Kiley           Borba     012300052889       Dasteel
 Andrew            Butler    012300052900       Dasteel                       X
 Maurice          Castro     012300052890       Dasteel
   Riley        Chapman      012300052898       Dasteel                       X
 Manfred         Dentice     012300052901       Dasteel
  Raciel            Diaz     012300052872       Dasteel                       X



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                                                               Current SSA   Current SSA
 Claimant       Claimant
                                Case Number       Arbitrator   Accepted By   Accepted By
First Name     Last Name1
                                                                Purchase       Pop-Up
 Jeremiah        Dieujuste      012300052884      Dasteel                        X
  Gordon         Huckaby        012300052861      Dasteel
 Bridgette        Mcbride       012300052892      Dasteel                        X
   James         McDonald       012300052888      Dasteel
  Mitchell        Pakosz        012300052853      Dasteel
  Michael        Patterson      012300052860      Dasteel                        X
 Pharaun            Potts       012300052859      Dasteel                        X
      Joe           Rios        012300052850      Dasteel
  Samuel          Roberts       012300052893      Dasteel                        X
     Greg          Smith        012300052882      Dasteel                        X
     Luis      Sotillet Rojas   012300052883      Dasteel
     Mark       Williams Jr     012300052870      Dasteel                        X
    Jacob           Zide        012300052854      Dasteel                        X
    Cody           Ackley       012300053336      Gaglione                       X
 Christien         Ayson        012300053334      Gaglione
 Matthew          Baldwin       012300053347      Gaglione                       X
     Ryan          Borek        012300053360      Gaglione
  Mitchell        Coburn        012300053343      Gaglione         X
  Michael        Daugherty      012300053357      Gaglione                       X
  Gabriel          Durbin       012300053335      Gaglione                       X
   Mason            Field       012300053355      Gaglione                       X
     Tyler     Francesconi      012300053338      Gaglione                       X
  Thomas          Garrett       012300053353      Gaglione
   Robert       Grescowle       012300053333      Gaglione                       X
     Rob          Hauser        012300053345      Gaglione         X
     Ann           Hefner       012300053340      Gaglione
 Kasandra           Hiley       012300053346      Gaglione
  Patrick          Kuller       012300053356      Gaglione                       X
  Richard       Lundsgaard      012300053358      Gaglione                       X
   Jordan          Newby        012300053359      Gaglione                       X
Christopher     Prato-shein     012300053342      Gaglione                       X
  Bradley          Ratliff      012300053341      Gaglione                       X
   Andre          Santana       012300053362      Gaglione                       X
     John          Taddei       012300053339      Gaglione
  Xzavier        Timmons        012300053349      Gaglione
  Merrick          Tipton       012300053354      Gaglione                       X
    Katie         Uccello       012300053363      Gaglione                       X
  Michael            Wu         012300053337      Gaglione                       X



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                                                            Current SSA   Current SSA
 Claimant       Claimant
                             Case Number       Arbitrator   Accepted By   Accepted By
First Name     Last Name1
                                                             Purchase       Pop-Up
    Tyler          Kemp      012300057451       Gilman                        X
   Cody          Stewart     012300057459       Gilman                        X
    Greg            Fish     012300053288        Goins                        X
Christian         Graber     012300053702        Goins
   Ethan         Lefebvre    012300057452        Goins                        X
 Jeremy            Lucas     012300053823        Goins                        X
 Zachary         Aletheia    012300053259       Gruber                        X
   Angel           Ayala     012300053273       Gruber                        X
   Kevin          Burnett    012300053268       Gruber                        X
    Eric        Chastain     012300053058       Gruber
  Rocco           Cipolla    012300053066       Gruber                        X
    Julio           Cruz     012300053266       Gruber
   Kevin          Dahlke     012300053264       Gruber
     Jon        Francisco    012300053265       Gruber                        X
  Robert          Gibson     012300053271       Gruber                        X
    Tyler         Gilbert    012300053270       Gruber
  Supyo            Hong      012300053054       Gruber                        X
  Jayson          Huber      012300053060       Gruber                        X
 Maxwell         Johnson     012300053061       Gruber                        X
Nicholas           Kirse     012300053065       Gruber                        X
  Jordan           Mack      012300053269       Gruber                        X
   Jason          Mccall     012300053274       Gruber
   Ricky          Mullins    012300053056       Gruber                        X
   Jacob          Naquin     012300053262       Gruber                        X
Jonathan            Ortiz    012300053272       Gruber                        X
  Skylar           Pond      012300053261       Gruber                        X
   David           Reed      012300053062       Gruber
   Allen          Roman      012300053260       Gruber                        X
  Trevor           Rupel     012300053053       Gruber
    Ryan         Sheline     012300053059       Gruber                        X
 Patrick          Squire     012300053064       Gruber                        X
 Patrick        Titterness   012300053267       Gruber
Kenneth           Walker     012300053055       Gruber
 Joshua           Wyant      012300053063       Gruber                        X
     Tai          Bishop     012300053074       Jossen                        X
    Cory            Cleri    012300053092       Jossen                        X
Elizabeth       Dingman      012300053071       Jossen
   Jacob            Ford     012300053075       Jossen                        X



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                                                            Current SSA   Current SSA
 Claimant       Claimant
                             Case Number       Arbitrator   Accepted By   Accepted By
First Name     Last Name1
                                                             Purchase       Pop-Up
   Joseph         Gentry     012300053076       Jossen
    Jason         Gibbs      012300053089       Jossen                        X
Don "doc"         Guger      012300053068       Jossen                        X
  Jackson         Heath      012300053081       Jossen                        X
    Adam        Henchen      012300053093       Jossen                        X
 Nicholas        Howell      012300053090       Jossen                        X
    Ryan          Jurado     012300053072       Jossen                        X
     Amy           Lutes     012300053077       Jossen                        X
    Javier         Nieto     012300053082       Jossen
  Richard         Noble      012300053083       Jossen                        X
  Wesley         Parmer      012300053091       Jossen
     Mike          Pena      012300053078       Jossen
  Andrew         Rosson      012300053069       Jossen
  Leonard        Sanders     012300053088       Jossen                        X
   Austin         Schau      012300053086       Jossen
   Joseph        Shelley     012300053087       Jossen
    Kevin         Taylor     012300053070       Jossen                        X
      Leif      Tollefson    012300053073       Jossen                        X
     Tyler        Wright     012300053067       Jossen                        X
Johnathan            Yi      012300053079       Jossen                        X
     John          Zwick     012300053085       Jossen
   Yousif       Alsaqlawi    012300053450        Katz                         X
 Jonathan          Beer      012300053466        Katz
     Rich       Cambern      012300053462        Katz
   Steven      Carmiencke    012300053459        Katz                         X
    Adam          Carroll    012300053461        Katz
     Nick         Carter     012300053472        Katz                         X
    Jason          Clark     012300053469        Katz                         X
   Daniel        Duncan      012300053456        Katz                         X
    Haley       Eskridge     012300053454        Katz                         X
     Jake        Flaherty    012300053476        Katz                         X
     Mike        Hespel      012300053474        Katz
  Braxten          Hieb      012300053463        Katz                         X
  Timothy       Kaiserlik    012300053458        Katz                         X
Alexander         Lopez      012300053460        Katz                         X
    Travis      Micheletti   012300053467        Katz           X
  Maxwell         Mucha      012300053471        Katz                         X
    Jared          Perry     012300053477        Katz           X



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                                                            Current SSA   Current SSA
 Claimant       Claimant
                             Case Number       Arbitrator   Accepted By   Accepted By
First Name     Last Name1
                                                             Purchase       Pop-Up
   Blake        Petersen     012300053455        Katz                         X
   Kevin          Ramos      012300053465        Katz
   Ethan       Rodabaugh     012300053470        Katz                         X
Christopher     Stephan      012300053453        Katz                         X
   Dillon        Stettler    012300053457        Katz                         X
   Amber          Toney      012300053473        Katz                         X
Christopher        Veiga     012300053475        Katz                         X
   Jonah          White      012300053452        Katz                         X
    Cody          Barker     012300053417      Kingsley
   Jacob         Deegan      012300053400      Kingsley                       X
   Logan          Doose      012300053394      Kingsley                       X
 Abraham         Duman       012300053399      Kingsley                       X
   Taylor       Edwards      012300053395      Kingsley                       X
  Nathan          Engols     012300053413      Kingsley
   Sacha        Haghighi     012300053398      Kingsley         X
 Broderick        Hebert     012300053393      Kingsley                       X
    Kyle         Jackson     012300053416      Kingsley
    Max         Johnson      012300053401      Kingsley                       X
   Justin          Jones     012300053410      Kingsley                       X
  Gregory           Kain     012300053414      Kingsley                       X
    Seth          Lewis      012300053418      Kingsley
  Michael        Linares     012300053404      Kingsley
   Roger         Maricle     012300053402      Kingsley                       X
Jodee Lynn        Molina     012300053403      Kingsley                       X
   Devon          Musto      012300053411      Kingsley                       X
  Joshua         Roberts     012300053396      Kingsley                       X
 Rudolph        Romano       012300053406      Kingsley
   Jason          Smith      012300053408      Kingsley                       X
  Samuel         Stevens     012300053392      Kingsley                       X
   Kaleb          Swaim      012300053412      Kingsley                       X
Dominique          Ward      012300053405      Kingsley                       X
   Mason          Wright     012300053397      Kingsley                       X
 Anthony          Gazzo      012300053009       Larkin
 Nicholas       Mastriaco    012300053532       Larkin                        X
    Marc            Ura      012300053407       Larkin                        X
    Noe           Adame      012300053322        Levy
  Timothy      Broughton     012300053331        Levy
 Nicolaas          Bush      012300053319        Levy                         X



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                                                            Current SSA   Current SSA
 Claimant       Claimant
                             Case Number       Arbitrator   Accepted By   Accepted By
First Name     Last Name1
                                                             Purchase       Pop-Up
Duwayne          Counts      012300053325       Levy                          X
 Andrew         Davidson     012300053330       Levy
  Josiah          Eredia     012300053323       Levy                          X
 Keelan          Esquivel    012300053332       Levy                          X
    Nico        Estebanez    012300053311       Levy
 Michael           Ewing     012300053308       Levy                          X
Alexander         Fowler     012300053320       Levy
  Adrian          Fritzley   012300053309       Levy
  David          Hedrick     012300053324       Levy                          X
  Martin        Hernandez    012300053321       Levy
     Jon           Hoke      012300053328       Levy                          X
   Alisa         Kalegina    012300053317       Levy
 Shawn             Peck      012300053306       Levy                          X
Jonathan           Perry     012300053310       Levy                          X
    Niko           Pitinii   012300053313       Levy                          X
   Isaac          Ramos      012300053307       Levy                          X
 Joseph             Ray      012300053304       Levy
    John          Reeves     012300053326       Levy
  Victor           Romo      012300053327       Levy
 Mitchell         Strang     012300053315       Levy
  James          Walters     012300053305       Levy                          X
  Xenia             Yee      012300053329       Levy                          X
  Jacob           Arthur     012300053560      Mainland                       X
  Roger           Barrett    012300053553      Mainland
  Aaron         Castaneda    012300053539      Mainland                       X
  Clyde          Chaffee     012300053548      Mainland                       X
     Ian         Cheney      012300053544      Mainland                       X
  James           Clarke     012300053537      Mainland                       X
  Chase          Couzens     012300053546      Mainland                       X
  Curtis     Drommerhausen   012300053556      Mainland
    Zack         Finfrock    012300053562      Mainland                       X
  Julian          Gariba     012300053551      Mainland                       X
Alejandro        Garrido     012300053538      Mainland         X
 Michael          Huege      012300053541      Mainland
   Chris           Huss      012300053559      Mainland                       X
  Daniel          Lahner     012300053563      Mainland
  Justin          Leffert    012300053547      Mainland                       X
  Travis         Maynard     012300053550      Mainland                       X



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                                                             Purchase       Pop-Up
  James         Mcinerny     012300053536      Mainland                       X
 Charles           Niles     012300053555      Mainland
 Michael       Pacholczak    012300053557      Mainland                       X
   Jesse         Perlaza     012300053561      Mainland                       X
  James         Reynolds     012300053540      Mainland         X
Jemellee         Santos      012300053564      Mainland
Salvatore       Sardisco     012300053543      Mainland                       X
 Michael       Shingleton    012300053554      Mainland
  Adam            Zuniga     012300053552      Mainland         X
 Meagan            Argo      012300052915      McNamara                       X
    Seth          Weber      012300053581      McNamara
   Abed          Balbaky     012300053314       McSorley                      X
    Alec       Birenbaum     012300053145       McSorley
Kenshad           Brown      012300052886       McSorley                      X
 Mateus           Cunha      012300053542       McSorley                      X
    Ajay           Dalal     012300053696       McSorley                      X
 Joshua         Depalma      012300053802       McSorley        X
  Corbin       Echevarria    012300053238       McSorley                      X
   Brett           Flinn     012300053173       McSorley                      X
   Cole           Hagan      012300053175       McSorley                      X
   Aleck       Hernandez     012300053225       McSorley                      X
Armando          Martinez    012300053106       McSorley                      X
    Paul          Mayer      012300053433       McSorley
   Mark          Mendel      012300053517       McSorley                      X
Alexander      Mishkevich    012300053344       McSorley                      X
 Anthony        Mittasch     012300053698       McSorley
  Conor        Moschella     012300053762       McSorley                      X
  Robert        Richelson    012300052936       McSorley        X
 Gabriel        Rodrigues    012300053105       McSorley        X
   Mark         Schaefer     012300053678       McSorley
Matthew         Ventures     012300053681       McSorley
  Lance          Vicente     012300053352       McSorley
 Bernard          Vignali    012300052957       McSorley                      X
  Robert          Woolf      012300053590       McSorley                      X
    Jake        Wuebker      012300053219       McSorley                      X
Matthias       Armstrong     012300052951        Morrill
  Jeffrey        Cassick     012300052934        Morrill                      X
Nicholas          Foster     012300052940        Morrill



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                                                            Purchase       Pop-Up
 Charles            Gill      012300052933     Morrill                       X
 Bashari          Guidry      012300052935     Morrill                       X
 Bradyn           Hamel       012300052942     Morrill         X
  Baylen          James       012300052947     Morrill                       X
    Itiel        Jimenez      012300052954     Morrill
   Jared         Johnson      012300052946     Morrill                       X
 Thomas        Mcsweeney      012300052938     Morrill                       X
   Alice          Millage     012300052944     Morrill
Alexander       Pachnicki     012300052953     Morrill                       X
 Joshua            Page       012300052941     Morrill                       X
    Jeff         Pellegrin    012300052929     Morrill                       X
  Dustin          Phelps      012300052930     Morrill                       X
  Mateo           Platero     012300052937     Morrill
  Steven         Prescott     012300052943     Morrill
 Thomas          Rolando      012300052939     Morrill                       X
   John        Schweizer Ii   012300052945     Morrill
     Ian          Stubbs      012300052932     Morrill                       X
  Nicky             Sun       012300052950     Morrill                       X
Matthew         Sweeney       012300052948     Morrill         X
  Maisie          Turner      012300052949     Morrill                       X
               Wasielewski-
 Joseph                       012300052931     Morrill
                   walsh
 Zachary          Yahola      012300052952     Morrill         X
  Fabian         Arevalo      012300053034     Ohashi                        X
   Noah            Burch      012300053033     Ohashi                        X
  Chase          Froelich     012300053015     Ohashi                        X
  Tasha         Goldsmith     012300053036     Ohashi                        X
  Daniel       Guadarrama     012300053031     Ohashi
  Trevor         Laturner     012300053024     Ohashi                        X
 Corinne            Lee       012300053035     Ohashi
 Broden         Mcduffee      012300053037     Ohashi                        X
   Barry         Morganti     012300053032     Ohashi
   Cole           Nelson      012300053017     Ohashi                        X
 Michael          Owens       012300053019     Ohashi                        X
   Eliel           Pedro      012300053025     Ohashi                        X
  Alyssa          Phillips    012300053028     Ohashi                        X
 Cortland         Pinnick     012300053027     Ohashi                        X
 Matthew          Powell      012300053018     Ohashi          X



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                             Case Number     Arbitrator   Accepted By   Accepted By
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                                                           Purchase       Pop-Up
   Quinn       Rasmussen     012300053022     Ohashi                        X
 Nicholas        Rugama      012300053023     Ohashi                        X
    Ethan          Sams      012300053016     Ohashi                        X
  Anthony         Simoni     012300053026     Ohashi                        X
    Ryan          Smith      012300053030     Ohashi                        X
    Norm         Somers      012300053021     Ohashi          X
    Tyler          Stulz     012300053020     Ohashi                        X
   Lucian      Thompson      012300053029     Ohashi
    Kevin         Viloria    012300053039     Ohashi                        X
   Luther        Williams    012300053038     Ohashi                        X
    Ryan         Adreani     012300053645     Palomo                        X
 Matthew           Baer      012300053169     Palomo                        X
 Raymond          Garay      012300052907     Palomo                        X
    Virgil       Glisson     012300052877     Palomo                        X
    Devin         Harvey     012300053177     Palomo                        X
    Jurell        Jordan     012300052866     Palomo                        X
   Derek          Krause     012300057458     Palomo                        X
    Deric        Landers     012300053014     Palomo                        X
  Ezekiel      Mccracken     012300052897     Palomo                        X
   Adrian         Monter     012300053131     Palomo                        X
    Ryan          Moore      012300052978     Palomo                        X
 Nathaniel        Moore      012300053597     Palomo                        X
  Bonnie         Murphy      012300053777     Palomo                        X
  Garland          Noel      012300053256     Palomo                        X
    Gary        Palmatier    012300052858     Palomo                        X
   Robert       Richards     012300053224     Palomo                        X
 Alexander      Rodriguez    012300053464     Palomo                        X
  Joshua        Sammons      012300053549     Palomo                        X
  Ramon          Serrano     012300052873     Palomo
    Dylan        Smyers      012300052871     Palomo          X
  Decker         Spencer     012300053318     Palomo                        X
 Matthew         Stengel     012300053101     Palomo                        X
   Randy         Wozniak     012300053245     Palomo          X
Christopher        Bittle    012300053241      Pope                         X
   Griffin         Byer      012300053237      Pope
   Myles         Coffman     012300053214      Pope
   Mason           Coon      012300053232      Pope                         X
   Jordan          Davis     012300053216      Pope                         X



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First Name     Last Name1
                                                             Purchase       Pop-Up
   Daniel          Ducos      012300053215       Pope                         X
  Jeremy           Flippo     012300053218       Pope                         X
   Guido         Gonzalez     012300053239       Pope                         X
  William          Griffin    012300053223       Pope           X
  William        Holmes       012300053217       Pope                         X
 Chandlin     Husain Husain   012300053240       Pope                         X
  Timothy        Johnson      012300053242       Pope
 Matthew           Jones      012300053227       Pope
 Benjamin         Jordan      012300053243       Pope                         X
    John            Knirr     012300053228       Pope                         X
   Austin        Mcmillan     012300053235       Pope                         X
   Aaron         Pearson      012300053231       Pope           X
  Vincent        Rebokus      012300053222       Pope                         X
 Stephen        Robertson     012300053230       Pope
  Gabriel        Santana      012300053234       Pope                         X
     Ian           Smith      012300053233       Pope                         X
   Aaron         Solomon      012300053221       Pope                         X
  Zachary          Taylor     012300053220       Pope                         X
   James        Weymouth      012300053226       Pope
  Joshua        Whiteacre     012300053244       Pope                         X
 Benjamin         Conrad      012300053129    Quintanilla
  Randall          Farley     012300053134    Quintanilla                     X
Neil Andrew     Francisco     012300053127    Quintanilla                     X
   Austin          Henry      012300053128    Quintanilla                     X
   Steven         Jennett     012300053126    Quintanilla                     X
    Alicia       Marshall     012300053133    Quintanilla
   Jacob          Phillips    012300053135    Quintanilla                     X
 Abrahim        Ramadan       012300053132    Quintanilla                     X
   Ethan          Scifers     012300053125    Quintanilla                     X
  Thmoas         Wiseman      012300053130    Quintanilla                     X
    Zaid        Abuwandi      012300053286     R. Brown                       X
   Steven         Armant      012300053279     R. Brown                       X
   Adam           Bernal      012300053303     R. Brown
Shountasia        Bevins      012300053283     R. Brown                       X
  Xander       Brende-prins   012300053278     R. Brown                       X
  Zachary          Burry      012300053277     R. Brown                       X
  Denver         Dubhorn      012300053295     R. Brown                       X
   David         Graham       012300053284     R. Brown                       X



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                             Case Number     Arbitrator   Accepted By   Accepted By
First Name     Last Name1
                                                           Purchase       Pop-Up
 Alexander         Grow      012300053298    R. Brown                       X
   Shane        Kachman      012300053301    R. Brown                       X
    Grant         Kegley     012300053293    R. Brown
     Paul        Kiernan     012300053290    R. Brown                       X
  Brandon         Kimpel     012300053296    R. Brown                       X
  Andrew        M Evenson    012300053282    R. Brown                       X
    Drew        Merriman     012300053276    R. Brown                       X
    Jared        Moreno      012300053302    R. Brown         X
    Jacob         Pullen     012300053292    R. Brown                       X
    David         Richey     012300053299    R. Brown                       X
     Tyler        Salyer     012300053280    R. Brown                       X
   Robert        Stillman    012300053291    R. Brown                       X
 Nicholas         Stone      012300053287    R. Brown                       X
   Devon          Trujillo   012300053300    R. Brown
    Jacob         Walker     012300053289    R. Brown                       X
   Joshua         Webb       012300053281    R. Brown         X
   Daniel          West      012300053294    R. Brown                       X
    Chris        Bassford    012300053186    Radford                        X
     Jase         Busby      012300053187    Radford                        X
Christopher       Conrad     012300053213    Radford
 Alexander        Coren      012300053204    Radford          X
     John          Davis     012300053193    Radford                        X
  William         Dudley     012300053184    Radford                        X
 Matthew          Fowler     012300053196    Radford                        X
     Nels         Geary      012300053208    Radford                        X
   Renny         Herbert     012300053205    Radford
   Shaun           Howe      012300053185    Radford                        X
     Alex          Hyer      012300053203    Radford
  Jennifer         Jacks     012300053212    Radford                        X
    Chris           Jaus     012300053202    Radford
  Andrew          Kosko      012300053209    Radford                        X
   Joshua          Kranz     012300053199    Radford
     Alan         Lopez      012300053188    Radford                        X
 Jonathan         Lopez      012300053210    Radford                        X
  Natasha       Mccarthy     012300053190    Radford                        X
  Andrew         Mitchell    012300053198    Radford
  Michael         Mrgich     012300053207    Radford
    Kenny          Ortiz     012300053201    Radford



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First Name     Last Name1
                                                           Purchase       Pop-Up
  Darian           Stark     012300053194     Radford                       X
  Lauren           Tyner     012300053183     Radford                       X
   Lloyd          Walker     012300053192     Radford                       X
    Mark          Wendt      012300053189     Radford                       X
 Thomas            Byrd      012300053796      Reid                         X
  James            Pruitt    012300053236      Reid                         X
 Samuel         Whiddon      012300053229      Reid
   Brian        Baskovich    012300053047      Rubin                        X
    Jack          Cleary     012300053042      Rubin
Brennan         Coleman      012300053049      Rubin
    Max            Kurtz     012300053041      Rubin
   Scott          Lewis      012300053048      Rubin                        X
Graysen         Mcgilligan   012300053045      Rubin                        X
   Gavin           Moye      012300053046      Rubin                        X
 Nathan           Pippin     012300053050      Rubin                        X
 Cristian        Raynes      012300053043      Rubin                        X
  Joshua        Rodriguez    012300053044      Rubin                        X
   Aaron         Vaughn      012300053040      Rubin                        X
  Daniel           Wirth     012300053052      Rubin                        X
 Jennifer       A Nelson     012300053436     Rundle
   Jacob         Barnhill    012300053449     Rundle                        X
  Joshua         Bosman      012300053252     Rundle
   Scott        Brewster     012300053257     Rundle
 Michael          Calloni    012300053439     Rundle
   Peter            Cila     012300053438     Rundle                        X
 Marcus          Crowley     012300053255     Rundle
   Sean            Dolle     012300053251     Rundle                        X
 Michael          Dufour     012300053253     Rundle                        X
   Paolo         Galupo      012300053435     Rundle                        X
Augustus          Gerbo      012300053250     Rundle                        X
   Jared        Hardison     012300053447     Rundle
    Mark          Henley     012300053432     Rundle                        X
Jonathan         Hillman     012300053258     Rundle                        X
 William         Jackson     012300053429     Rundle                        X
   Kolby          Louks      012300053443     Rundle                        X
  Martin         Mendez      012300053441     Rundle
    Ray           Miller     012300053440     Rundle                        X
 Andrew          Osborne     012300053442     Rundle                        X



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                                                             Purchase       Pop-Up
    Eric         Partlow       012300053445     Rundle                        X
  Morgan         Rushing       012300053444     Rundle
     Kai        Trobaugh       012300053428     Rundle
    Jack           Uteg        012300053431     Rundle
   Veda           Valles       012300053446     Rundle                        X
    Brad         Wilson        012300053434     Rundle                        X
 Stephen         Adams         012300053378     Samas                         X
   David          Arroyo       012300053371     Samas                         X
  Garrett         Athay        012300053391     Samas                         X
  Edwin           Ayala        012300053387     Samas                         X
 Brandan        Christner      012300053366     Samas                         X
   Ethan      Cowan-wright     012300053390     Samas                         X
  Sydney      Cutler-gilbert   012300053377     Samas                         X
   Dylan      Fleckenstein     012300053388     Samas                         X
    Tyler        Freehill      012300053379     Samas
  James          Gallant       012300053385     Samas           X
   Bryce          Goens        012300053370     Samas                         X
   Ralph        Gonzales       012300053364     Samas                         X
   Jacob         Graves        012300053367     Samas                         X
  Andres       Hernandez       012300053381     Samas                         X
   Travis         Hickey       012300053382     Samas                         X
   Jared         Huggett       012300053384     Samas                         X
    John        Marcotte       012300053386     Samas                         X
   Sean          Mitchell      012300053365     Samas                         X
  Daniel          Morris       012300053369     Samas                         X
  Marcus         Pettway       012300053374     Samas                         X
    Joel       Sandkamp        012300053373     Samas                         X
 Zackery        Sessions       012300053376     Samas           X
   Brian       Sherwood        012300053372     Samas                         X
Alexander        Thomas        012300053389     Samas                         X
    Ryan          Tutor        012300053375     Samas
 Brennan        Anderson       012300057445     Saydah
  Harris          Banks        012300053832     Saydah          X
   Katie          Clark        012300053833     Saydah
   Sean           Duan         012300053843     Saydah                        X
Jhonnatan       Enriquez       012300057448     Saydah          X
  Alfredo       Gonzalez       012300053839     Saydah                        X
  Corbin          Holm         012300053844     Saydah                        X



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First Name     Last Name1
                                                           Purchase       Pop-Up
     Erik      Knooihuizen   012300057443    Saydah
    John        Lapaglia     012300053835    Saydah                         X
   Jacob         Loomis      012300057464    Saydah                         X
  William      Mac Dougall   012300053841    Saydah                         X
  Joseph       Martinolich   012300053831    Saydah
  Joshua          Obrien     012300053837    Saydah
    John           Otey      012300053829    Saydah                         X
  Joshua         Pedrick     012300057444    Saydah                         X
     Noe         Rosales     012300053613    Saydah                         X
    Ryan         Schultz     012300053830    Saydah                         X
  Donald         Spinelli    012300053840    Saydah
   Caleb          Theriot    012300057463    Saydah                         X
Christopher         Toft     012300053842    Saydah                         X
   Jeffrey       Trodden     012300053834    Saydah
   Josiah       Wilkerson    012300053828    Saydah
     Kyle       Womack       012300053845    Saydah                         X
    Cade         Azarcon     012300052876    Schmitz                        X
     Rob         Baldwin     012300053514    Schmitz
   Aaron          Briggs     012300052874    Schmitz
Johnathon          Eimer     012300052852    Schmitz
  Natalie         Fields     012300057456    Schmitz
 Cameron          Lester     012300052988    Schmitz                        X
      Ian         Trefren    012300052864    Schmitz                        X
    Cary           Miller    012300053005     Silak
  Thomas       Abbruzzese    012300053479    Sperow                         X
   David          Antolic    012300053498    Sperow
     Jose        Aranda      012300053494    Sperow                         X
   Carter          Baker     012300053490    Sperow                         X
   Gavin        Borchers     012300053481    Sperow                         X
 Alexander       Brumley     012300053501    Sperow
   James           Davis     012300053499    Sperow           X
   Collin          Evans     012300053493    Sperow                         X
  Anthony       Galatolo     012300053491    Sperow                         X
  Vincent        Keegan      012300053504    Sperow                         X
  Jeremy        Kirkwood     012300053480    Sperow                         X
   Robert          Lewis     012300053488    Sperow                         X
    Kevin        Montes      012300053487    Sperow
    Jared         Myers      012300053500    Sperow                         X



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 First Name      Last Name1
                                                              Purchase       Pop-Up
    Caleb           Orella      012300053492     Sperow          X
   Zachary         Parsley      012300053485     Sperow
    Brady            Paul       012300053478     Sperow                        X
Timothy Pablo     Penaranda     012300053503     Sperow          X
     Hugh          Phillips     012300053496     Sperow                        X
    Carson        Plaisance     012300053489     Sperow                        X
      Jeff      Ramirez Ochoa   012300053483     Sperow
    Simon           Savlas      012300053484     Sperow                        X
  Alexander       Schlosser     012300053505     Sperow                        X
   Nicholas         Tynes       012300053502     Sperow                        X
      Leo          Blondel      012300053602     T. Brown
  Johnathon          Bush       012300053599     T. Brown                      X
     Scott         Eskridge     012300053598     T. Brown                      X
     Riley          Griffith    012300053601     T. Brown                      X
   Michael         Gualtieri    012300053595     T. Brown                      X
     Evan           Piepho      012300053600     T. Brown                      X
    Steven         Stucker      012300053594     T. Brown
   William        Marcellus     012300053350    Thompson                       X
     Isaac          Sellers     012300053482    Thompson




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